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            THE AIRLINES’ REQUEST OF THE
    DEPARTMENT OF TRANSPORTATION TO STAY THE
EFFECTIVE DATE OF ENHANCING TRANSPARENCY OF AIRLINE
 ANCILLARY SERVICE FEES, 89 FED. REG. 34,620 (APR. 30, 2024)
               (THE RULE) (MAY 31, 2024)




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                    S KADDEN , A RPS , S LATE , M EAGHER & F LOM LLP
                                   1440 NEW YORK AVENUE, N.W.
                                                                                       FIRM/AFFILIATE OFFICES
                                  WASHINGTON, D.C. 20005 -2111                                 -----------
                                                  ________                                    BOSTON
                                                                                             CHICAGO
                                         TEL: (202) 371-7000                                 HOUSTON
                                         FAX: (202) 393-5760                               LOS ANGELES
                                                                                             NEW YORK
                                           www.skadden.com                                  PALO ALTO
   DIRECT DIAL                                                                              WILMINGTON
(202) 371-7370                                                                                 -----------

   DIRECT FAX
                                                                                              BEIJING
                                                                                            BRUSSELS
(202) 661-2370                                                                             FRANKFURT
   EMAIL ADDRESS
                                                                                           HONG KONG
SHAY.DVORETZKY@SKADDEN.COM                                                                   LONDON
                                                                                              MUNICH
                                           May 31, 2024                                        PARIS
                                                                                           SÃO PAULO
                                                                                              SEOUL
                                                                                            SHANGHAI
Hon. Peter Buttigieg                                                                       SINGAPORE
                                                                                               TOKYO
United States Secretary of Transportation                                                    TORONTO
U.S. Department of Transportation
1200 New Jersey Ave., SE
Washington, DC 20590

          RE:        Request to stay the effective date of Enhancing Transparency of Airline
                     Ancillary Service Fees, 89 Fed. Reg. 34,620 (Apr. 30, 2024) (the Rule)

Dear Secretary Buttigieg:

        Airlines for America (A4A), on behalf of itself and the other petitioners challeng-
ing the Rule before the U.S. Court of Appeals for the Fifth Circuit in Airlines for America
et al. v. Department of Transportation, No. 24-60231 (5th Cir.) (collectively, the Airlines),
respectfully request that the Department of Transportation stay the effective date of the
Rule such that the Rule’s “Compliance/Implementation Period” (89 Fed. Reg. at 34,622)
begins to run from the Fifth Circuit’s issuance of its mandate resolving the Airlines’ peti-
tion for review. As explained below, the Rule exceeds the Department’s statutory
authority and is unlawful under the Administrative Procedure Act (APA). Additionally,
without a stay, the Rule will work immense irreparable harm on the Airlines.

       The Airlines respectfully request that the Department respond to this stay request
no later than June 10, 2024. If the Department does not respond by that date, the Airlines
will move the Fifth Circuit to stay the Rule.

                                           ARGUMENT

        The Department, similar to a court, “may postpone the effective date of action
taken by it, pending judicial review,” when “justice so requires.” 5 U.S.C. § 705. Whether
to issue a stay turns on (1) the movant’s likelihood of success on the merits; (2) whether
the movant will suffer irreparable harm without a stay; (3) whether a stay will substan-
tially harm other parties; and (4) whether the public interest supports a stay. See Alliance




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for Hippocratic Medicine v. FDA, 78 F.4th 210, 241 (5th Cir. 2023). All four factors support
a stay here.

I.     The Airlines are likely to succeed on the merits.

      A stay is warranted, because the Fifth Circuit is likely to hold that the Department
exceeded its statutory authority and violated the APA.

       A.     The Rule exceeds the Department’s statutory authority.

        Congress has authorized the Department to “investigate and decide whether an
air carrier, foreign air carrier, or ticket agent has been or is engaged in an unfair or decep-
tive practice,” and, if so, “order” the specific entity “to stop the practice.” 49 U.S.C.
§ 41712(a). That narrow provision doesn’t grant the Department authority to issue the
Rule. The Rule is thus “unlawful” and must be “set aside.” 5 U.S.C. § 706(2)(C).

              1.     The Department may only prohibit unfair or deceptive practices,
                     but it has instead mandated particular practices.

        If the Department decides, after conducting an investigation, that a covered entity
“has been or is engaged in an unfair or deceptive practice,” then it “shall order” the entity
“to stop the practice.” 49 U.S.C. § 41712(a) (emphasis added). As a matter of ordinary
English, the power to “stop” supposedly unfair or deceptive practices doesn’t include the
power to “prescribe” lawful practices. That ordinary meaning is consistent with statutory
history. The Department’s predecessor, the Civil Aeronautics Board, could prohibit and
prescribe unjust practices of air carriers. See Federal Aviation Act of 1958, Pub. L. No. 85-
726, §§ 411, 1002(d), 72 Stat. 731, 769, 787-90. But Congress eliminated the prescriptive
power when it enacted the ADA. “The most likely inference in these circumstances is that
Congress deliberately” eliminated the power to prescribe yet preserved the power to pro-
hibit. United States v. Wells, 519 U.S. 482, 493 (1997).

       The Rule is prescriptive and therefore unlawful. It tells airlines and ticket agents
what they must do (disclose fees for ancillary services), when they must do it (the precise
moment they provide fare and schedule information in response to a consumer search),
where (in most cases on their online platforms, and in some cases on the first page of those
platforms), and how they must do it (not through hyperlinks, and sometimes with specific
words). See generally 89 Fed. Reg. at 34,621, 34,676-77. Section 41712(a) does not authorize
these comprehensive mandates.

              2.     The Rule unlawfully regulates practices that are not unfair or
                     deceptive.

       The Rule also exceeds the Department’s authority, and is thus arbitrary and capri-
cious, because the practices it regulates are not “unfair” or “deceptive” under § 41712(a).



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       a.     An unfair practice under § 41712(a) is one that “causes or is likely to cause
substantial injury, which is not reasonably avoidable, and the harm is not outweighed by
benefits to consumers or competition.” 14 C.F.R. § 399.79(b)(1). That definition follows
from the meaning of the Federal Trade Commission Act, on which Congress modeled
§ 41712(a), and which expressly provides that a practice is not “unfair” unless it “is likely
to cause substantial injury to consumers which is not reasonably avoidable by consumers
themselves and not outweighed by countervailing benefits to consumers or to competi-
tion,” 15 U.S.C. § 45(n). See Defining Unfair or Deceptive Practices, 85 Fed. Reg. 78,707,
78,708, 78,714 (Dec. 7, 2020). The test requires evaluating “net effects,” because “some
practices may be harmful to consumers in some respects, but beneficial to consumers in
other respects.” Guidance Regarding Interpretation of Unfair and Deceptive Practices, 87 Fed.
Reg. 52,677, 52,679 (Aug. 29, 2022). An example of an “unfair” practice is “delaying pas-
sengers on the tarmac for a substantial length of time without the opportunity to deplane
or without adequate food, water, lavatory facilities, and medical attention,” because it
“imposes substantial harm” that a passenger who “lacks the opportunity to deplane”
cannot reasonably avoid. Id.

        The practices the Rule regulates are not “unfair.” As A4A explained (Comments
45-46, https://tinyurl.com/3ac8hn48), any harm to consumers from not having ancillary-
fee disclosures on the first page in response to a search is reasonably avoidable because
consumers can find the disclosures on webpages that are just a click away. Indeed, “every
A4A passenger carrier displays or makes available at first search results the ancillary fee
information that DOT proposes” for an anonymous search—they just may use hyper-
links, which the Rule now prohibits. A4A Comments 17-18. Unlike where passengers
cannot deplane and do not have access to food, water, or restrooms during a lengthy
tarmac delay, consumers here suffer minimal harm (if any), and any harm is reasonably
avoidable, because consumers simply have to click a mouse or touch a screen to navigate
all the disclosures, and can do so before purchase. See Enhancing Transparency of Airline
Ancillary Service Fees - Regulatory Impact Analysis 15 (April 2024), https://ti-
nyurl.com/2024-RIA (2024 RIA). And even assuming consumers suffer “harm” from
navigation to an additional webpage, the benefits of clear, easily navigable search results
substantially outweigh it. The Rule has a net negative effect, because it adds “unwieldy
clutter” to online search results, leading to a “less efficient, less clear e-commerce plat-
form.” A4A Comments 40, 48. The Department’s own analysis proves the point: The Rule
demonstrably slows consumers down, whereas any benefit to consumers is “uncertain.”
2024 RIA 18, 25, 27.

       b.     A practice is “deceptive” “if it is likely to mislead a consumer, acting rea-
sonably under the circumstances, with respect to a material matter,” 14 C.F.R.
§ 399.79(b)(2), like “express misrepresentations, implied representations, and omissions,”
87 Fed. Reg. at 52,680. Consumer reasonableness turns on the totality of the circum-
stances, including “the familiarity of the public with the product, and the availability of
alternate sources for the information.” Id. Airlines are not responsible for consumers’



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“feeling[s] or opinion[s].” Id. at 52,680 & n.49. For example, “an airline’s frequent flyer
programs were not deceptive simply because consumers may have assumed that airlines
could not make such changes to the program, or were surprised that miles could not be
sold, when the terms of the plan themselves were clear.” Id. at 52,680 n.49.

        The practices the Rule regulates are not “deceptive.” The Department concluded
that current practices are deceptive because “consumers do not know the amount of the
fees that will apply to them, given the complexity of fee structures.” 89 Fed. Reg. at 34,633.
But the Department provided no evidence that consumers were being misled about change
or cancellation fees. A4A Comments 53. Consumers have alternate sources of information
about baggage fees, because airlines disclose that information on their websites. A4A
Comments 50-51. Reasonable consumers know that fees and policies vary across airlines
even if they do not know “the amount of [those] fees,” 89 Fed. Reg. at 34,633. Thus, a
reasonable consumer would not think that the standard fare is automatically the final
price (inclusive of all ancillary services) or that ancillary fees are uniform across airlines.

              3.     The statutory authority to stop an unfair or deceptive practice
                     based on case-by-case adjudications does not include the
                     authority to issue generally applicable regulations.

       Congress gave the Department the authority to “investigate and decide whether
an air carrier, foreign air carrier, or ticket agent has been or is engaged in an unfair or
deceptive practice,” and, if it so finds “after notice and an opportunity for a hearing,” to
“order the air carrier, foreign air carrier, or ticket agent to stop the practice.” 49 U.S.C.
§ 41712(a) (emphases added). That language makes clear that the statute, on its face, con-
templates only case-by-case enforcement via case-by-case hearings and factfinding, not
generally applicable rulemaking. Under well-established interpretive principles, that
specific adjudicatory authority controls, leaving no space for the general authority to
“take action” that the Department “considers necessary … , including conducting inves-
tigations, prescribing regulations, standards, and procedures, and issuing orders,” 49
U.S.C. § 40113(a), when it comes to “unfair or deceptive practice[s],” 49 U.S.C. § 41712(a).
In other words, § 41712(a), the specific provision, “must be complied with,” because it “is
construed as an exception to the general [provision],” § 40113(a). RadLAX Gateway Hotel,
LLC v. Amalgamated Bank, 566 U.S. 639, 645 (2012). Because § 41712(a) grants the Depart-
ment only the authority to stop an unfair or deceptive practice on a case-by-case basis,
and because the Rule mandates specific and generally applicable practices, the Depart-
ment has exceeded its statutory authority.

       Even if Congress granted the Department authority to promulgate some generally
applicable regulations governing unfair or deceptive practices, it did not authorize the
Department to decide the major question of how air carriers and ticket agents must run
their businesses so as to not engage in unfair or deceptive practices. The major question
doctrine embodies the “common sense” principle that Congress typically does not use



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“modest words,” “vague terms,” or “subtle device[s]” when delegating to federal agen-
cies massive regulatory authority. West Virginia v. EPA, 597 U.S. 697, 722-23 (2022)
(alteration in original). But the Department’s reading of § 41712(a) is potentially limitless.
If Section 41712(a) enables the Department to tell airlines and ticket agents, in the context
of ancillary-fees disclosure, what they must do, when they must do it, where they must do
it, and how they must do it, then presumably the Department can tell airlines and ticket
agents, in granular detail, how to run every other aspect of their business that the Depart-
ment deems “unfair.” Nothing in the statute—certainly no “clear congressional
authorization,” West Virginia, 597 U.S. at 723—supports such regulatory power. If any-
thing, the fact that Congress left “the selection and design of marketing mechanisms” “to
the airlines themselves” in the Airline Deregulation Act of 1978, Pub. L. No. 95-504, 92
Stat. 1705, American Airlines, Inc. v. Wolens, 513 U.S. 219, 228, 230 (1995), shows that the
Department lacks the expansive authority it claims to possess. Moreover, reading the
phrase “unfair or deceptive” as such a vague, open-ended term would mean that the term
lacks an intelligible principle to guide the Department, in violation of the Constitution’s
restriction on delegating legislative powers. See Mistretta v. United States, 488 U.S. 361,
371-72 (1989). Indeed, that concern supports “read[ing] the [law] narrowly to avoid con-
stitutional problems.” National Cable Television Ass’n v. United States, 415 U.S. 336, 342
(1974).

       B.     The Rule violates the APA.

       The APA requires courts to “set aside agency action, findings, and conclusions”
that are (1) “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance
with law” or (2) “without observance of procedure required by law,” 5 U.S.C. § 706(2)(A),
(D), including the requirement to “give interested persons an opportunity to participate”
through public comment, id. § 553(c). The Rule fails both tests.

              1.     The Rule does not reflect reasoned decisionmaking.

        Agency action is “arbitrary and capricious” if the agency fails to “examine the rel-
evant data and articulate a satisfactory explanation for its action including a ‘rational
connection between the facts found and the choice made.’” Motor Vehicle Manufacturers
Ass’n of the United States v. State Farm Mutual Automobile Insurance Co., 463 U.S. 29, 43
(1983). Failing to rationally consider the expected costs or adequately substantiate the
supposed benefits violates the APA. See, e.g., Mexican Gulf Fishing Co. v. United States De-
partment of Commerce, 60 F.4th 956, 973 (5th Cir. 2023); Chamber of Commerce of the United
States v. United States SEC, 85 F.4th 760, 777-78 (5th Cir. 2023).

       The Rule is arbitrary and capricious because the Department failed to substantiate
the supposed benefits and failed to seriously consider the costs. The Department stated
that the “key driver” in the cost-benefit analysis was “the share of consumers who find
the information on ancillary fees relevant to their purchase decision.” 2024 RIA 26-27. But
the Department has no idea what that share is, because it does “not have reliable


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measures” of those passengers or of how much “time these passengers will save while
searching for air travel on airline and non-airline websites under the final rule.” 2024 RIA
25. Moreover, while the Department asserts that 46% is a “plausible” guess about how
many consumers will consider ancillary-services fees when purchasing a ticket, 2024 RIA
16-18, it does not rationally explain how benefits supposedly extending to less than 50%
of consumers outweigh the costs (e.g., confusion and inefficiency) exacted on all consum-
ers. The Rule is thus arbitrary and capricious.

              2.     The Department unlawfully relied on new data without giving
                     the public a meaningful opportunity to comment.

       Under 5 U.S.C. § 553(c), an agency must provide the public an opportunity to com-
ment on its proposed rules, including “the underlying factual data relied on by the
agency.” Chemical Manufacturers Ass’n v. EPA, 870 F.2d 177, 200 (5th Cir. 1989). The failure
to provide notice of and an opportunity to comment on new data—i.e., data that does
more than just supplement or confirm existing data—constitutes an APA violation. See
Texas Ass’n of Manufacturers v. United States Consumer Product Safety Commission, 989 F.3d
368, 382-83 (5th Cir. 2021); Idaho Farm Bureau Federation v. Babbitt, 58 F.3d 1392, 1402 (9th
Cir. 1995).

        The Department violated the APA, because it issued the Rule in reliance on the
2024 RIA—which included data that wholly replaced the data from its earlier analysis,
Enhancing Transparency of Airline Ancillary Service Fees - Regulatory Impact Analysis 26-27
(September 2022), https://tinyurl.com/2022-RIA (2022 RIA)—without giving the public
an opportunity to comment on the 2024 RIA. The differences between the 2024 RIA and
2022 RIA are clear and significant. For example, the 2022 RIA “did not provide quantita-
tive analysis of benefits and costs,” 2024 RIA 5, because it was “not possible to quantify
total benefits or total costs” or “to quantify whether the proposed rule would yield ben-
efits that exceed costs,” 2022 RIA at ii. The 2024 RIA, by contrast, concluded that “the
estimate of annual net benefits ranges from $30.3 million to $254 million” and that “the
probability of net benefits being positive is roughly 53 percent.” 2024 RIA at i.

       Because the 2022 RIA did not have any data supporting the cost-benefit analysis,
the 2024 RIA necessarily replaced the nonexistent data. The Department was required to
give the public another opportunity to comment. Its failure to do so violated the APA.

II.    The Rule will cause the Airlines irreparable harm.

       Without a stay, the Airlines will suffer irreparable harm. “[T]he nonrecoverable
costs of complying with a putatively invalid regulation typically constitute irreparable
harm.” Restaurant Law Center v. United States Department of Labor, 66 F.4th 593, 597 (5th
Cir. 2023). “Alleged compliance costs need only be ‘more than de minimis,’” and courts
consider parties’ “descriptions of harms.” Career Colleges & Schools of Texas v. United States
Department of Education, 98 F.4th 220, 236 (5th Cir. 2024).


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       The Airlines will incur both immediate and downstream nonrecoverable costs.
Digital platforms for providing information to consumers would need to be completely
reengineered, as would systems for sharing data with ticket agents. Those changes would
be expensive, potentially costing airlines at least $5 to $10 million each, excluding labor
and other related costs. Indeed, several carriers are continuing to evaluate the costs of
compliance and some anticipate facing significantly greater costs. The Airlines would
also be forced to divert resources from other projects and renegotiate contracts with ticket
agents. Additionally, if and when the Fifth Circuit holds that the Rule is unlawful, the
Airlines will need to spend more time and money retooling their systems to eliminate the
consumer confusion the Rule will have caused.

III.   The balance of harms and the public interest support a stay.

       The Rule is unlawful, so the public interest and the equities also support a stay.
See Alliance for Hippocratic Medicine, 78 F.4th at 251.

                                     CONCLUSION

       The Airlines respectfully request that the Department stay the effective date of the
Rule such that the Rule’s “Compliance/Implementation Period” (89 Fed. Reg. at 34,622)
begins to run from the Fifth Circuit’s issuance of its mandate resolving the Airlines’ peti-
tion for review.



                                                   Sincerely,

                                                   Shay Dvoretzky
                                                   Parker Rider-Longmaid
                                                   SKADDEN, ARPS, SLATE,
                                                    MEAGHER & FLOM LLP
                                                   1440 New York Ave. NW
                                                   Washington, DC 20005
                                                   202-371-7000
                                                   shay.dvoretzky@skadden.com
                                                   parker.rider-longmaid@skadden.com

                                                   Counsel for Airlines for America




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  THE DEPARTMENT OF TRANSPORTATION’S DENIAL OF THE
AIRLINES’ REQUEST TO STAY THE EFFECTIVE DATE OF THE RULE
                      (JUNE 10, 2024)




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U.S. Department                         General Counsel
of Transportation                                                          1200 New Jersey Avenue, SE
Office of the Secretary                                                        Washington, D.C. 20590
of Transportation


                                           June 10, 2024


Shay Dvoretzky
Skadden, Arps, Slate, Meagher & Flom LLP
1440 New York Ave. NW
Washington, DC 20005
(202) 371-7000
shay.dvoretzky@skadden.com
Counsel for Airlines for America

       RE:     Denial of Airlines for America’s Request to Stay the Effective Date of Enhancing
               Transparency of Airline Ancillary Service Fees, 89 Fed. Reg. 34,620 (Apr. 30,
               2024) (the Ancillary Service Fees Rule)

Dear Mr. Dvoretzky:

         I write in response to Airlines for America’s (A4A) letter motion of May 31, 2024, in
which A4A seeks a stay of the effective date of the Ancillary Service Fees Rule on behalf of
A4A and the other petitioners challenging the Rule in Airlines for America, et al. v. DOT, No.
24-60231 (5th Cir.). After due consideration, the U.S. Department of Transportation (DOT)
declines to stay the effective date of the Ancillary Service Fees Rule. If A4A and the other
petitioners move the Fifth Circuit to stay the Rule, the Department will oppose. The Department
is committed to taking actions to promote the interests of American workers, businesses, and
consumers. The Ancillary Service Fees Rule is a lawful and critical piece of the Department’s
efforts to protect American consumers from unfair and deceptive practices by air carriers such as
petitioners, and we strongly believe it is not in the public interest to stay the rule pending review
of A4A’s petition.

       The purpose of the Rule is to prevent unfair and deceptive practices in air transportation
and the sale of air transportation. Specifically, the Rule protects airline passengers from surprise
fees when purchasing a ticket. The Department promulgated the Rule after conducting notice-
and-comment rulemaking and a public hearing, during which A4A and the other petitioners had
the opportunity to be heard. While the Rule goes into effect July 1, 2024, the deadline for airlines
to provide ancillary fee data to ticket agents is October 30, 2024, and the deadline for airlines to
comply with the other regulatory requirements of the Rule is April 30, 2025. 89 Fed. Reg. at
34,620, 34,622. We understand A4A’s letter motion to request a stay of all such deadlines.



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        As recognized in A4A’s letter motion, DOT has the discretion to postpone the effective
date of the Rule, see 5 U.S.C. § 705, when “justice so requires.” Id.; see also Nken v. Holder, 556
U.S. 418, 433-34 (2009). Here, however, a stay is not warranted; indeed, none of the stay factors
weighs in A4A’s favor. A4A is unlikely to prevail on the merits: The Rule is rooted in well-
established statutory authority, see, e.g., 49 U.S.C. § 41712, and the Department complied with
the standards set forth in the Administrative Procedure Act. The equitable factors likewise tilt
against a stay: A4A’s allegation of harm relies on the conjectural assertion that data sharing with
ticket agents and changing digital platforms could “potentially cost[] airlines at least $5 to $10
million each, excluding labor and other related costs,” Ltr. at 7—while criticizing as unreliable
the Department’s estimates of substantial annual net benefits and annual time savings benefits.
The Rule protects American consumers, and a stay would not serve the public interest.

         49 U.S.C. § 41712(a) charges the Department with protecting consumers from unfair and
deceptive practices in air transportation and the sale of air transportation. In promulgating the
Ancillary Service Fees Rule, the Department acted based on consumer complaints, public
comments, and information provided directly by consumer advocates, by State attorneys general,
and indirectly through the Department’s Aviation Consumer Protection Advisory Committee
(ACPAC) and predecessor committees, and made the requisite findings under 49 U.S.C.
§ 41712, § 40113, § 40101, and other statutory provisions that the failure to clearly disclose
critical baggage, change, and cancellation fees constitutes an unfair and deceptive practice.

        As explained in the final rulemaking, the Department has been concerned about and has
been evaluating the transparency of change fees, cancellation fees, and baggage fees for some
time. “Consumer advocates had asserted at an ACACP [Advisory Committee on Aviation
Consumer Protection, predecessor of ACPAC] meeting held on June 23, 2015, that [change and
cancellation] fees had become significant and difficult to ascertain” and noted “that baggage
allowance rules were confusing to consumers and that it was difficult for consumers to
understand which airline’s rules apply.” 89 Fed. Reg. at 34,623. Also, “[a]t the same meeting, a
ticket agent representative stated that every baggage fee scheme had ‘multiple layers and
exceptions’ that were not always dynamically available to ticket agents.” Id. In the final rule, the
Department also recognized that the U.S. Government Accountability Office reported in
September 2017 that consumer group representatives stated that it had become “increasingly
difficult for consumers to compare airfare ticket prices, fees, and associated rules, and
understand what is included in their purchases.” Id. Further, in December 2017, the Department
received a letter from attorneys general from 16 States and the District of Columbia stating that
they “regularly hear reports from consumers in [their] states who are confused and frustrated by
these fees, which significantly alter the total cost of travel.” Id. In 2019, after DOT tasked the
ACPAC with addressing this issue again, consumer organizations again “recommended that
ancillary fee information should be clearly displayed early in consumer purchase decisions.” Id.
at 34,624. In June 2022, the ACPAC met yet again to address ancillary service fees and “a
consumer advocate stated that consumers still do not know the specific amounts of baggage and
change and cancellation fees that apply during the ticket purchase process” while “[a]nother
consumer advocate expressed concerns with drip pricing.” Id.

       In issuing the Rule, the Department explained that it “determined that this rulemaking is
necessary to address ongoing inadequacies in existing ancillary fee disclosure requirements”



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based on the “history of concerns raised by consumer organizations and individual consumers,
including the individual complaints the Department has received reflecting the confusion
consumers experience regarding ancillary fees.” Id. As discussed in the final rulemaking, “[t]he
Department continues to receive hundreds of consumer complaints each year regarding ancillary
fees.” Id. Importantly, “[b]ased on past experience, the Department understands that the number
of consumer complaints it receives directly from consumers is a small fraction of the total
complaints received each year by airlines and ticket agents.” Id. More specifically, DOT’s Office
of Aviation Consumer Protection received over 550 complaints regarding change and
cancellation fees and over 140 complaints regarding seat fees in 2021, and over 750 complaints
regarding change and cancellation fees in 2022. Id. The Department included redacted samples
of these complaints on the public docket for this rulemaking. See www.regulations.gov/
document/DOT-OST-2022-0109-0022; www.regulations.gov/document/DOT-OST-2022-0109-
0757.1 Regarding change and cancellation fees in particular, the rulemaking provides specific
examples of change and cancellation fees that airlines list on their websites as $0-$1000, $0-
$400, and “up to $750”—none of which allows consumers to determine the change and
cancellation fees that apply to them in their circumstances. 89 Fed. Reg. at 34,629 n.63 (listing
fees for United Airlines, Delta Air Lines, and American Airlines); see also www.regulations.gov/
document/DOT-OST-2022-0109-0755.

        In response to these practices and continued complaints, the Department published its
Notice of Proposed Rulemaking, opened and then extended the period for public comment, and
held a public hearing pursuant to 14 C.F.R. § 399.75.2 89 Fed. Reg. at 34,625-26. A4A raised
two issues that the Department considered at the public hearing: (1) whether consumers are or
are likely to be substantially injured or are misled by airlines’ current disclosures of ancillary
service fees; and (2) whether disclosures of itinerary-specific ancillary fees at the time of first
search will result in the display of incomplete or inapplicable ancillary fee information, cause
consumer confusion, and distort the marketplace. Id. at 34,626. After careful consideration of all
the evidence presented and the comments received from the public—including evidence and
comments received from A4A—the Department concluded that the failure to clearly,
conspicuously, and accurately disclose critical bag fees and change and cancellation fees with the
quoted airfare is unfair and deceptive. Id. at 34,627-32.

       In promulgating the Ancillary Service Fees Rule, the Department relied on its authority
under 49 U.S.C. § 41712, § 40113, and § 40101, in addition to other statutory provisions. 89 Fed.

1
 Contrary to A4A’s assertion that “the Department provided no evidence that consumers were
being misled about change or cancellation fees,” Ltr. at 4, DOT disclosed public comments and
consumer complaints as well as other statements in which consumer advocates expressed
concern about consumer confusion over ancillary fees. See, e.g., 89 Fed. Reg. at 34,633, 34,642.
2
 The Department’s regulations provide for a hearing “when the Department proposes a
discretionary aviation consumer protection rulemaking declaring a practice to be unfair or
deceptive. This is consistent with section 41712, which requires notice and an opportunity for a
hearing before a finding that an air carrier, foreign air carrier, or ticket agent is engaged in an
unfair or deceptive practice or an unfair method of competition.” Defining Unfair or Deceptive
Practices, 85 Fed. Reg. 78,707, 78,711-12 (Dec. 7, 2020); see 49 U.S.C. § 41712(a).



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Reg. at 34,674. Section 41712 authorizes the Department to prohibit unfair and deceptive
practices in air transportation and the sale of air transportation. Section 40113 specifically
authorizes the Department to take action, “as appropriate,” to “prescrib[e] regulations” as the
Department considers necessary “to carry out” Part A of the Act, which includes the unfair-and-
deceptive practices provision in section 41712(a) (Part A, subpart ii, ch. 417).

        A4A’s argument that the Department cannot rely on section 40113, Ltr. at 4, ignores the
clear authority that provision grants the Secretary of Transportation to take appropriate action
that he “considers necessary to carry out this part, including conducting investigations,
prescribing regulations, standards, and procedures, and issuing orders.” 49 U.S.C. § 40113(a)
(emphasis added). It is black letter law that courts “give effect, if possible, to every clause and
word of a statute, avoiding, if it may be, any construction which implies that the legislature was
ignorant of the meaning of the language it employed.” Montclair v. Ramsdell, 107 U.S. 147, 152
(1883). The case A4A cites in support of its argument, RadLAX Gateway Hotel, LLC v.
Amalgamated Bank, 566 U.S. 639 (2012), does not compel the result A4A seeks. See Ltr. at 4.
We agree that “[t]he terms of the specific authorization must be complied with.” 566 U.S. at 645.
We disagree, however, that compliance with section 41712 means the Department has no
complementary rulemaking authority under section 40113.

        Notwithstanding the applicability of section 40113, DOT has long exercised the authority
to promulgate rules pursuant to 49 U.S.C. § 41712. For decades, the Department’s Office of
Aviation Consumer Protection has regulated other practices by air carriers and ticket agents
determined to be unfair and deceptive under section 41712. See, e.g., Disclosure of Change of
Gauge Services, 64 Fed. Reg. 12,854 (Mar. 15, 1999); Enhancing Airline Passenger Protections
I, 74 Fed. Reg. 68,983 (Dec. 30, 2009); Enhancing Airline Passenger Protections II, 76 Fed.
Reg. 23,110 (Apr. 25, 2011); Enhancing Airline Passenger Protections III, 81 Fed. Reg. 76,800
(Nov. 3, 2016); Tarmac Delay Rule, 86 Fed. Reg. 23,260 (May 3, 2021).

        Congress has consistently ratified DOT’s authority to protect consumers under
section 41712 and has not once called into question DOT’s ability to do so. Most recently, in the
Federal Aviation Administration Reauthorization Act of 2024, Congress acted on this very Rule.
Congress provided for amendments to the Ancillary Service Fees Rule’s procedures regarding
offline ticket disclosures and importantly, did not question DOT’s ability to regulate online ticket
disclosures or any other aspect of the Rule. See FAA Reauthorization Act of 2024, H.R. 3935,
118th Cong. (2024), Sec. 513 (“Not later than 18 months after the date of enactment of this Act,
the Secretary shall take such action as may be necessary to update the process by which an air
carrier or ticket agent is required to fulfill disclosure obligations in ticketing transactions for air
transportation not completed through a website.”); see also id. § 513(b)(3) (expressly endorsing
Department regulations promulgated under section 41712). In the past, Congress has similarly
provided for the amendment of other rules promulgated under section 41712 without calling into
question DOT’s authority to promulgate those rules. See, e.g., FAA Extension, Safety, and
Security Act of 2016, Public Law No. 114-190, Sec. 2308 (directing the Department to update
provisions of Enhancing Airline Passenger Protections I, 74 Fed. Reg. 68,983, which the
Department duly updated in Tarmac Delay Rule, 86 Fed. Reg. 23,260).

      Further, the U.S. Court of Appeals for the District of Columbia Circuit has upheld the
Department’s authority to regulate the advertising of airfares, refund plans, and post-purchase


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pricing changes under section 41712’s prohibition on unfair and deceptive practices in an APA
challenge of a previous rule. Spirit Airlines v. DOT, 687 F.3d 403 (D.C. Cir. 2012). There, the
D.C. Circuit upheld the Department’s “authority to prohibit ‘unfair or deceptive practice[s] . . . in
air transportation or the sale of air transportation.’” Id. at 408 (quoting 49 U.S.C. § 41712(a));
see also 687 F.3d at 411 (finding that the Department’s requirement that airlines must make the
total, final price of airfare the most prominently listed figure was an appropriate “exercise of
DOT’s statutory authority to prevent ‘unfair or deceptive practice[s]’” (quoting 49 U.S.C.
§ 41712(a))).

         For similar reasons, A4A’s invocation of the major-questions doctrine is misplaced. This
rulemaking shares none of the hallmarks of the handful of “extraordinary cases” in which the
major-questions doctrine has been applied. West Virginia v. EPA, 597 U.S. 697, 723 (2022). The
Department’s authority to prohibit unfair or deceptive practices in air transportation or the sale of
air transportation is not a “newfound power” rooted in “vague,” “cryptic,” “ancillary,” or
“modest” statutory terms. Id. at 721, 723, 724 (citations omitted). To the contrary, and as
detailed above, the Department has consistently exercised this regulatory authority for decades
under a plain and judicially recognized statutory mandate. See Spirit Airlines, 687 F.3d at 408-11
(upholding regulations prohibiting unfair or deceptive practices under 49 U.S.C. § 41712(a)); see
also Biden v. Nebraska, 143 S. Ct. 2355, 2372 (2023) (explaining that consistent “past practice
under” the relevant statutory authority bears directly on compliance with the major-questions
doctrine). In attempting to transform section 41712’s settled meaning and application into a
“major question,” A4A also overstates the burdens imposed by the Rule on petitioners: During
the public comment period, multiple carriers noted that ancillary fees were already listed on
airline websites. 89 Fed. Reg. at 34,632. A4A also stated that “[e]very A4A passenger air carrier
displays or makes available at first search results the ancillary fee information that DOT
proposes for a consumer conducting an anonymous search in the direct channel via rollovers or
links.” Id. All the Rule requires is that carriers and ticket agents provide specific information
about these fees—change fees, cancellation fees, and baggage fees (first checked bag, second
checked bag, and carry-on bag)—to consumers upfront, in a more accessible way. Further,
A4A’s contention that DOT’s reasonable interpretation of section 41712 to encompass ancillary
fees is “potentially limitless” is without merit, because, among other reasons, the terms “unfair”
and “deceptive” have established definitions in this context. See 14 C.F.R. § 399.79.

        A4A’s assertion that the Rule does not address unfair and deceptive practices is without
merit. See Ltr. at 2-4. As the Department explained in the final rulemaking, “[t]he Department
has concluded that a carrier commits an unfair and deceptive practice in the sale of air
transportation when it discloses an airfare in response to a consumer’s itinerary search without
providing accompanying information on applicable fees for a first and second checked bag and a
carry-on bag and when it fails to disclose weight and dimension information for that baggage
before ticket purchase on an online platform.” 89 Fed. Reg. at 34,627. Further, “[t]he Department
concludes that a carrier commits an unfair practice in the sale of air transportation when it
discloses an airfare in response to a consumer’s itinerary search without providing accompanying
information on applicable change and cancellation fees and fails to provide change and
cancellation policies before ticket purchase on an online platform.” Id. at 34,629. In so finding,
the Department addressed the objections A4A made during the public comment period:




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       The Department disagrees that there is insufficient evidence of substantial injury.
       Consumer complaints are only one metric that the Department uses to gauge
       whether an unfair or deceptive practice is occurring. The Department also relies on
       the statements of consumer advocates, all of which have consistently expressed
       concern about consumer confusion over ancillary fees throughout the years that
       rulemaking has been contemplated on this subject. The Department finds it
       reasonable to rely on the statements of the many consumer advocates, State
       attorneys general, and consumer organizations as representative of the views of
       consumers, and, when further confirmed by consumer complaints, to determine that
       substantial harm is occurring or is likely to occur.

Id. at 34,633. A4A’s arguments reveal a disagreement with the outcome and do not support any
contention that the Department failed to make the requisite findings based on substantial
evidence.

        As noted above, the Rule reflects reasoned decisionmaking by the Department, in full
compliance with the requirements of the APA. The APA’s arbitrary and capricious standard is
“narrow and highly deferential” to agency action. Sierra Club v. U.S. Dep’t of Interior, 990 F.3d
909, 913 (5th Cir. 2021) (citing Medina Cnty. Env’t Action Ass’n v. Surface Transp. Bd., 602
F.3d 687, 699 (5th Cir. 2010)). Under this “deferential” standard, a court “simply ensures that the
agency has acted within a zone of reasonableness and, in particular, has reasonably considered
the relevant issues and reasonably explained the decision.” FCC v. Prometheus Radio Project,
141 S. Ct. 1150, 1158 (2021).

        A4A’s unsupported contention that the Ancillary Service Fees Rule will lead to consumer
“confusion and inefficiency,” Ltr. at 6, is not validated by the evidence and comments the
Department received during the rulemaking. By requiring airlines and ticket agents to tell
consumers upfront the fees for a first or second checked bag, a carry-on bag, and for canceling
and changing a reservation, the Rule will provide consumers with the necessary information to
make an informed decision when shopping for airfare, while also reducing the amount of time
consumers will need to spend to determine the full price of air travel when purchasing airfare.
A4A’s letter motion does not explain how the Rule, which will help consumers identify all
relevant fees upfront when booking an airfare, could lead to consumer confusion or inefficiency.
Moreover, to the extent there is confusion and inefficiency associated with these ancillary fees, it
is a problem of design rather than disclosure. Allowing carriers to keep their fees hidden does not
make them less confusing or more efficient; it makes them harder for consumers to avoid.

        During the rulemaking, DOT carefully considered A4A’s comments and evidence. See,
e.g., 89 Fed. Reg. at 34,634-35, 34,640-42, 34,646-50. Nothing more is required under the APA.
Prometheus Radio Project, 141 S. Ct. at 1158 (stating that the agency only needs to have
“reasonably considered the relevant issues and reasonably explained the decision”). That A4A
and the other petitioners disagree with DOT’s assessment does not render the Rule arbitrary and
capricious. Rather, this “arbitrary-and-capricious challenge boils down to a policy
disagreement,” which offers “no basis for substituting” A4A’s views for the Department’s.
Public Citizen, Inc. v. National Highway Traffic Safety Admin., 374 F.3d 1251, 1263 (D.C. Cir.
2004); see also Dep’t of Commerce v. New York, 139 S. Ct. 2551, 2571 (2019) (declaring that
courts are not to “second-guess[]” an agency’s “weighing of risks and benefits” associated with a


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rulemaking). The rationale provided in the Rule amply justifies the decision made, and A4A’s
letter motion offers no compelling argument to the contrary.3

        A4A asserts that data sharing with ticket agents and changing digital platforms could
“potentially cost[] airlines at least $5 to $10 million each, excluding labor and other related
costs,” see Ltr. at 7, while criticizing as unreliable the Department’s estimates of annual net
benefits ranging from $30 to $254 million, 89 Fed. Reg. at 34,668, and annual time savings
benefits ranging from $365 million to $484 million, id. at 34,622. The Department considered
A4A’s arguments concerning the costs they and their members may allegedly be subjected to
under the Rule. See id. at 34,647-50. In fact, in the final rulemaking, the Department
acknowledged A4A’s concerns around the cost and feasibility of the Rule—incorporating some
parts of A4A’s analysis and rejecting other parts as not credible. See id. at 34,650 (“To address
these concerns [about the cost and technological feasibility], the Department is providing
additional flexibility for ticket agents and airlines in how they disclose the required fees. This
final rule requires that fees be ‘clearly and conspicuously’ disclosed but does not limit the
display of critical ancillary fees to only static text next to the fare.”).

        On the other side of the ledger, a stay would significantly harm the public. For the
reasons stated above and detailed in the rulemaking, there is strong public interest in the Rule’s
protections for American consumers against unfair and deceptive practices in air transportation,
and the public interest is best served by allowing the Rule to go into effect. Indeed, A4A has not
demonstrated a likelihood of success on the merits or that petitioners will suffer irreparable
harm, and it makes no substantive argument regarding the balance of harms or the public
interest. See Ltr. at 7 (incorporating A4A’s mistaken merits arguments).

       The Department hereby denies A4A’s request to stay the effective date of the Ancillary
Service Fees Rule.


                                                       Sincerely,



                                                       ______________________________
                                                       Blane A. Workie
                                                       Assistant General Counsel
                                                       Office of Aviation Consumer Protection




3
  A4A’s contention that the “Department unlawfully relied on new data without giving the public
a meaningful opportunity to comment,” Ltr. at 6, is similarly without merit. The Department did
not rely on any new data in arriving at the conclusions in the economic analysis.



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  DECLARATION OF YANIK HOYLES, DIRECTOR OF
 DISTRIBUTION, INTERNATIONAL AIR TRANSPORT
          ASSOCIATION (JUNE 10, 2024)




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 DECLARATION OF CHARU JAIN, SENIOR VICE PRESIDENT,
MERCHANDISING AND INNOVATION, ALASKA AIRLINES, INC.
                   (JUNE 10, 2024)




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                                No. 24-60231

                                     In the

         United States Court of Appeals
                                    for the
                             Fifth Circuit
                          ______________________________

AIRLINES FOR AMERICA, ALASKA AIRLINES, INC., AMERICAN AIRLINES, INC., DELTA AIR
                     LINES, INC., HAWAIIAN AIRLINES, INC.,
               JETBLUE AIRWAYS CORP., UNITED AIRLINES, INC.,
                                  Petitioners,

                                      – v. –

                      DEPARTMENT OF TRANSPORTATION,
                                Respondent.
                        ______________________________

                   DECLARATION OF CHARU JAIN,
     SENIOR VICE PRESIDENT, MERCHANDISING AND INNOVATION
                     OF ALASKA AIRLINES, INC.
                      ______________________________




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      Pursuant to 28 U.S.C. § 1746, I, CHARU JAIN, hereby declare as follows:

      1.     I am Senior Vice President, Merchandising and Innovation at Alaska

Airlines, Inc. (“Alaska”). Alaska’s principal place of business is 19300 International

Blvd., Seattle, WA 98188. Alaska is a member of Airlines for America. I am

authorized to make this declaration on Alaska’s behalf, and I am personally

familiar with the facts stated herein. As Senior Vice President, Merchandising and

Innovation, I am responsible for overseeing, designing and implementing all

aspects of our guest digital experience, as well as related policies and procedures

required to comply with applicable laws and regulations.

      2.     Alaska and its regional partners serve more than 120 destinations in

the United States, the Bahamas, Belize, Canada, Costa Rica, Guatemala and Mexico.

Alaska strives to be the most caring airline, and boasts award-winning customer

service and an industry-leading loyalty program. As a member of the oneworld

alliance, and with its additional global partner airlines, Alaska’s guests (also

referred to herein as “passengers”) can travel to more than 1,000 destinations on

more than 25 airlines while earning and redeeming miles on flights to locations

around the world. In 2023, Alaska carried approximately 44.5 million guests.

      3.     I am aware that the Department of Transportation (“DOT”) has

finalized the rule titled “Enhancing Transparency of Airline Ancillary Service

Fees,” 89 Fed. Reg. 34,620 (Apr. 30, 2024) (“the Rule”), which is the subject of the


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above-referenced case.

      4.     I understand that the Rule imposes new consumer disclosure

requirements on airlines, including Alaska, for what the DOT deems “critical

ancillary services,” including fees and policies for a first checked bag, second

checked bag, and carry-on bag, as well as any flight changes or cancellations. I

understand that the Rule requires airlines and ticket agents to disclose fee

information “during the itinerary search process at the first point where a fare and

schedule is provided in connection with a specific itinerary.” 89 Fed. Reg. at

34,621.

      5.     My understanding is that the Rule additionally requires carriers and

ticket agents to disclose policies about critical ancillary services, including “ticket

change and cancellation policies” as well as any applicable limits on a checked or

carry-on bag’s weight and dimensions before ticket purchase on an online

platform.

      6.     Alaska already discloses ancillary fees associated with baggage, as

well as those associated with flight change and cancellation, on its website and

mobile app. On Alaska’s homepage (www.alaskaair.com), a disclosure is posted

next to the Flight Search form under the label “Baggage & optional fees.” Once an

individual completes a Flight Search and is presented with Flight Options, a notice

appears above those Flight Options regarding baggage and optional fees. Alaska


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also displays baggage and cancellation disclosures on the Payment page, Cart page,

Confirmation page, and Check-in page.

      7.     To provide our guests with the information in the form the Rule

requires — “at the first point where a fare and schedule is provided in connection

with a specific itinerary” — Alaska will have to significantly restructure its

marketing platforms and reprogram its itinerary search functions. This will be a

daunting and complex task, particularly because, under the Rule, airlines and

ticket agents will have to disclose fees for critical ancillary services on either a

passenger-specific or anonymous itinerary search basis, at the consumer’s option.

The DOT defines a “passenger-specific search” as “a search that takes into account

information specific to the passenger (e.g., the passenger’s status in the airline’s

frequent flyer program, the passenger’s military status, or the passenger’s status

as a holder of a particular credit card) that was affirmatively provided by that

passenger and information specific to the itinerary (e.g., geography, travel dates,

cabin class, and ticketed fare class) that may impact the critical ancillary service

fees to be charged or policies to be applied.” The DOT defines an “anonymous

itinerary search” as “a search that does not take into account information specific

to the itinerary (e.g., geography, travel dates, cabin class, and ticketed fare class)

that may impact the critical ancillary service fees to be charged or policies to be

applied.” In order to address the complexity associated with tailoring the required


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disclosures to “passenger-specific” searches, Alaska anticipates that it will have to

substantially reconstruct key components of its website and mobile app, and

reprogram other aspects of its existing technology systems.              Alaska also

expects that in order to comply with the Rule for certain passenger-specific search

disclosures, it will have to require that consumers “log-in” before they are able

to begin shopping for flights.

      8.     In addition, the Rule requires Alaska and other airlines to disclose

critical ancillary fees whenever a fare is quoted and also provide related policy

information during in-person and telephonic communications with consumers.

This will require employees to read disclaimer language and search for fee details

for each passenger, which will increase the average call handling time per caller

and increase Alaska’s costs.

      9.     Alaska conservatively estimates that this substantial overhaul of its

customer-facing and -supporting technology infrastructure work could take at

least 24 months at an initially estimated cost of $8 million, including but not

limited to costs associated with redesigning and rebuilding the shopping and

booking platforms on our website and app, along with an inestimable amount for

human resources and labor to implement the technological and procedural

updates required to comply with the Rule as described herein. Alaska will also

need to build a new ancillary fee calculator and create the technology


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infrastructure for a new sign-in process that will allow us to show a personalized

fee calculation for each guest.

      10.    In addition to technology and labor cost increases, prioritizing this

work to comply with the Rule’s timeline means that Alaska will not be able to work

on other strategic revenue initiatives as approved by our board of directors that

we believe are critical to our business success.

      11.    In addition to the direct costs and lost opportunity costs that Alaska

will incur, we believe the changes required by the Rule will create a flight shopping

experience that takes longer to complete and may becoming overwhelming for

guests who are inundated with details that are not relevant to them. We believe

such tasks, in addition to being confusing for guests, will hinder commerce by

negatively impacting the number of people who do or are willing to complete a

flight booking with Alaska, which will result in irreparable adverse impact to our

revenue.

      12.    I understand that the Rule provides a compliance period of 12

months, requiring airlines to meet the fee disclosure requirements for critical

ancillary service by April 30, 2025.

      13.    To have any chance of meeting the Rule’s compliance deadline, Alaska

must immediately begin making the changes and updates described above,

including but not limited to, guest account capabilities, website and app


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functionality, information sharing capability with partners, procedures manuals,

and employee training immediately, long before this litigation is resolved.

      14.    If the Rule is not stayed, Alaska will suffer immediate and substantial

compliance costs. Alaska would not be able to recover these significant compliance

costs in the event the Rule is later found to be invalid.

      15.    In addition to costs associated with the Rule’s fee-disclosure

provisions, I understand that the Rule requires airlines to “share critical ancillary

fee information with any entity that is required by law to disclose” such fee and

policy information to consumers, including ticket agents and other airlines (e.g.,

codeshare and interline partners). 89 Fed. Reg. at 34,659. Although the Rule does

not specifically require airlines to provide guest-specific information such as

frequent flyer status and credit card membership, critical ancillary fee and service

information to the global distribution systems (“GDSs”), the booking systems that

function as a conduit between airlines and travel agents, Alaska and other airlines

may have no choice but to do so in order to communicate the DOT-required

information to travel agents that rely exclusively on a particular GDS for access to

Alaska’s fare and schedule information. Alaska cannot dictate or control how long

the GDSs may take to revise their technology platforms to enable such

communication.

      16.    For the data-sharing provision, the Rule provides a compliance period


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of only 6 months, requiring airlines to share data with ticket agents no later than

October 30, 2024.

      17.   To comply with the Rule, Alaska may need to renegotiate existing

contracts with ticket agents to account for the new disclosure requirements, which

will likely result in additional costs and diversion of Alaska’s human resources to

complete.

      18.   If the Rule is not stayed, Alaska will incur these costs immediately,

and they would not be recoverable if the Rule is later found to be invalid.



      I declare under penalty of perjury that the foregoing is true and correct.



Dated: June 10, 2024                     _____________________________

      Seattle, WA                        Charu Jain

                                         Senior Vice President, Merchandising

                                         and Innovation




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DECLARATION OF ANSHUMAN SINGH, MANAGING DIRECTOR,
   CUSTOMER EXPERIENCE DIGITAL TRANSFORMATION,
         AMERICAN AIRLINES, INC. (JUNE 7, 2024)




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 DECLARATION OF MICHAEL HECHT, MANAGING DIRECTOR,
PRODUCT MANAGEMENT, DELTA AIR LINES, INC. (JUNE 11, 2024)




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                                No. 24-60231

                                     In the

         United States Court of Appeals
                                    for the
                             Fifth Circuit
                          ______________________________

AIRLINES FOR AMERICA, ALASKA AIRLINES, INC., AMERICAN AIRLINES, INC., DELTA AIR
                     LINES, INC., HAWAIIAN AIRLINES, INC.,
               JETBLUE AIRWAYS CORP., UNITED AIRLINES, INC.,
                                  Petitioners,

                                      – v. –

                      DEPARTMENT OF TRANSPORTATION,
                                Respondent.
                        ______________________________

     DECLARATION OF MICHAEL HECHT OF DELTA AIR LINES, INC.
                    ______________________________




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      Pursuant to 28 U.S.C. § 1746, I, MICHAEL HECHT hereby declare as follows:

      1.     I am the Managing Director, Product Management at Delta Air Lines,

Inc. (Delta). Delta’s principal place of business is 1030 Delta Boulevard, Atlanta,

Georgia. I am authorized to make this declaration on Delta’s behalf, and I am

personally familiar with the facts stated herein.

      2.     Delta is an airline with over 100,000 employees that serves over 200

million passengers per year.

      3.     I am aware that the Department of Transportation (“DOT") has now

finalized the rule titled “Enhancing Transparency of Airline Ancillary Service

Fees,” 89 Fed. Reg. 34,620 (Apr. 30, 2024) (“the Rule”), which is the subject of the

above-referenced case.

      4.     I understand that the Rule imposes new disclosure requirements for

what it deems “critical ancillary fees,” including fees for a first checked bag, a

second checked bag, and for carry-on bags, as well as for any flight change or

cancellation fees. The Rule requires airlines and ticket agents to disclose these fees

“during the itinerary search process at the first point where a fare and schedule is

provided in connection with a specific itinerary.” 89 Fed. Reg. at 34,621.

      5.     I understand that the Rule additionally requires carriers and ticket

agents to disclose any applicable limits on a checked or carry-on bag’s weight and

dimensions before ticket purchases on an online platform, but not necessarily “at


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the first point where a fare and schedule is provided.” It similarly requires carriers

to disclose components of their change and cancellation policies, including

applicable restrictions and prohibitions, the form of refund that applies, the policy

regarding fare differentials if a consumer selects a lower cost replacement flight,

and the ability for a consumer to hold or cancel a fare for 24 hours, before a

consumer purchases a ticket on an online platform. Id. at 34,676.

      6.     I also understand that the Rule requires airlines to provide fare,

schedule, and availability information to ticket agents that is “useable, current and

accurate.” Id. at 34,631.

      7.     Delta.com: Currently, when a customer searches potential flight

options on delta.com it provides the customer with a fare display grid that clearly

and efficiently lists available flights and includes key information such as dates,

times, airports, connections, classes of service, and fares. The customer need not

login to delta.com nor enter any individualized information such as frequent flyer

status or credit card information that may provide ancillary fee discounts or

exemptions in order to quickly access this key flight option information.

      8.     As shown below, delta.com’s current fare display grid enables

customers     to    scan    multiple    flight     options    on    a   single     page.




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The search page also includes a hyperlinks for baggage fees. A red box has been

added around the hyperlink for purposes of the declaration. That hyperlink takes

the consumer to a “Baggage & Travel Fees Page,” with extensive information, as

the below screenshot reflects.



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      9.     In the event a customer is interested in learning more about any of

the available class of service options, they have several options. They may select

“Explore Our Cabin Experiences,” which results in the popup displayed below:




This display provides Delta customers with the differences in benefits or services

applicable to the different fares being offered.

      10.    Alternatively, the customer may also click on each class of service
                                          4

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type (Basic, Main, Comfort+, or First) to bring up a description of each class of

service, including the limitations or benefits of each.

      11.    As an example, the First Class popup, shown below, discloses that in

addition to the benefits of Comfort+, First Class ticket holders receive priority

check-in and security lines where available, more spacious seats with greater

legroom and recline, priority boarding, premium meals for longer flights, and, as

indicated by the added red box, 2 Free Checked Bags. This example demonstrates

a class of service that provides two checked bags as part of the ticket. Delta is

unable to determine the cost of the applicable baggage fee until the Customer

selects a fare class.




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      12.   In addition to receiving ancillary fee information by looking at the fare

classes, customers can also access the baggage fees from a hyperlink on the

delta.com homepage. A screenshot is provided below, with a red box added for

purposes of this declaration.




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      13.   That hyperlink takes a customer the “Baggage & Travel Fees Page,”

mentioned above. That page describes Delta’s baggage allowance and fee policies,

including, as shown below, Common Baggage Fees. The customer can quickly and

easily assess what fees may apply to their travel.




      14.   As reflected by highlighting added to the above screenshot for

purposes of this declaration, Delta offers discounted or exempt baggage fees for

customers who have earned those benefits by reaching a certain level of loyalty

with Delta. For example, SkyMiles Medallion members (customers who have

reached the Silver, Gold, Platinum, or Diamond levels) are exempt from many

checked bag fees. As shown in the below screenshot, these benefits differ

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depending upon the level of loyalty.




      15.   The amount of the baggage allowance at each medallion level is also

dependent upon the fare the customer purchases. The screenshot above shows the

baggage allowed without charge at each SkyMiles medallion level for tickets

purchased in the Basic Economy, Main Cabin, and Comfort+ service levels. But if

the customer buys a higher level of service, such as First Class (for domestic

flights) or Premium Select or Delta One (for international flights), the baggage

allowances for medallion level SkyMiles members can be greater. See below:




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      16.   American Express Delta SkyMiles Credit Card Holders: Delta has a

relationship with American Express, and certain cardholders (as shown below)

can check one bag on Delta flights without a fee.




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      17.    The new DOT requirement to display ancillary fees at the first page of

search results will require significant changes to Delta’s fare display grid –

specifically, to incorporate information regarding bag fees and change/cancel fees

for each column (i.e., class of service) of the grid, as these fees vary by class of

service. Displaying all of this additional information on the first page of the search

results will clutter the appearance.

      18.    At the time a customer receives their initial flight search results, Delta

often does not yet know what the ultimate cost of ancillary products will be. As

described above, various factors affect what consumers pay in ancillary fees. This

cost depends on, for example, what fare the customer will choose, what their

frequent flyer status is, or what form of payment they will be using. Thus, if Delta

does not have accurate and complete information at this juncture in the shopping

process, it is not feasible to display reliable information for these customers.


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Indeed, in many instances the search results might overstate a customer’s

ancillary fees because they in fact have benefits through the loyalty program or co-

branded credit cards that they might not choose to enter at the time of their search.

Additionally, customer searches involving multiple parties (who may each have

different loyalty, credit card, fare class, or other status with Delta that may affect

ancillary fee benefits), searches conducted on behalf of other persons, and

complex itineraries will yield ancillary fee information that does not apply to all

passengers.

      19.     Complying with the new DOT requirements with respect to Delta’s

direct product distribution channels (including delta.com, the FlyDelta mobile

phone app, and telephone reservations), as well as to Delta’s indirect product

distribution channels (including third-party travel agents, both online and

conventional), will involve significant capital investments in and changes to

Delta’s distribution infrastructure. Additional details on the work involved and

some of the compliance challenges are outlined below.

            a. Change/Cancel Fees: While Delta does not charge change or

   cancellation fees on fares for Main Cabin and above tickets on travel that

   originates from the United States or Canada, we will still be required to display

   a price of $0 for each category or some notice that no change fee is

   applicable. This will require IT changes, result in a cluttered appearance, and


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slow the search process for customers.

      b. Bag Fees: Delta will be required to display a carry-on bag fee of $0 in

addition to the standard fees for first and second checked bags (typically $35

and $45 for most itineraries). This will require IT changes, resulting in a

cluttered appearance, information that depends on the customer to be reliable,

and a slowed the search process for customers.

      c. Basic Economy Fares: These fares would require significant disclosure

on the search results page itself, rather than on the lengthier Basic Economy

“accept restrictions” modal that appears when a customer selects a Basic

Economy fare today. As shown, this modal prominently displays cancellation

fees and other ticket restrictions.




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   Basic Economy fares cannot be changed but can be cancelled for a fee of $99 or

   $199 per person, per ticket, for itineraries originating in the United States and

   Canada. Delta will need to devote significant resources to evaluating and/or

   implementing changes to the modal (and its content) for purposes of ensuring

   compliance.

      20.   FlyDelta App: I understand that the new rule’s fee display

requirements will apply to a mobile application, such as the FlyDelta App, in

addition to websites viewed from mobile devices. All of the IT costs and challenges

posed by delta.com’s compliance with new rule are equally applicable to the

FlyDelta App. The cluttered appearance of the additional required disclosures


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would make the app unwieldly given the limited screen size of mobile phones and

tablets. Below is a screenshot that reflects how limited the information is on a

phone screen now—even before the mandates.




      21.   Reservations: In addition to direct digital channels noted above, DOT’s

rule will require Delta to develop additional technology, training protocols, and

verbal scripts for customer calls to Delta’s reservations line to ensure critical

ancillary fees are disclosed to customers for each potential itinerary being


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considered. These additional disclosures will increase call handling and wait times

and strain staffing resources.

      22.    These considerations, in the aggregate, will cost Delta up to

approximately $15 million to implement.

      23.    Similar to the costs and challenges associated with direct channel

compliance, compliance with aspects of the new DOT ancillary fee requirements

relating to the distribution of critical ancillary fee information to third party ticket

agents (i.e., indirect channels) by the DOT-prescribed deadlines will impose

significant cost and administrative burdens on the company. In particular, it will

require Delta to invest in, develop, and deploy enhanced technology to support

dynamically priced offers for filing with the Airline Tariff Publishing Company

(ATPCO) – the airline industry’s primary database for publishing fares and fees.

Airlines file fees to ATPCO so that third parties, like travel agents, can use them for

booking.

      24.    Implementing the structural changes that the new DOT requirements

necessitate will be complex and cumbersome. The bag and change fees that are

covered by the DOT’s new requirements are based on multiple variables, including

(without limitation) the fare product and itinerary selected, waiver eligibility,

SkyMiles and Medallion status, and co-branded credit card benefits. Ensuring the

distribution of usable, current, and accurate ancillary fee information by ATPCO


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and ticket agents would require Delta to develop and implement enhanced

technology to create the individualized offers, which in turn will require additional

and accelerated investments in a new data transmission format called the New

Distribution Capability (NDC). NDC was developed by the International Air Travel

Association for the airline industry in order to permit airlines to distribute

information about fares and fees to the customer more easily and dynamically

than ATPCO currently allows. NDC is based on a computer language called

Extensible Markup Language (XML), which provides for more flexibility in the

transmission of data than what has traditionally been used by the airline industry.

      25.    Leveraging the necessary internal and external resources to develop

the solution for third parties will require the expenditure of up to approximately

$35 million, driven by the complex carrier servicing required in corporate

channels that will shift to Delta once NDC is implemented.

      26.    In total, then, DOT’s new ancillary fee disclosure and distribution

requirements will significantly impact the way Delta displays its fares, products,

and fees in both direct and third-party distribution channels – requiring Delta to

expend significant cost (up to $50 million), time, and resources over the next

several months absent a court-ordered stay on the effective dates of the rule

pending judicial review.

      27.    In striving to meet the compliance deadlines, Delta would need to


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begin expending funds now to put the company in position to comply by the Rule’s

effective date of April 30, 2025. Full compliance will require additional investment

and sizable human resources to manage the substantial technological changes. It

will also force Delta to reprioritize its ancillary fee distribution initiatives and

appropriate millions of dollars and extensive company resources currently

allocated to other time-sensitive, high-priority, customer-facing projects, thereby

delaying the deployment of other technology that will more greatly benefit

customers than the requirements flowing from the DOT rule. In the event a court

ultimately invalidates any aspect of the new requirements as a result of litigation,

such funds would not be recoverable.

      28.    If the Rule is ultimately held unlawful, Delta anticipates that it would

likely attempt to undo many of the changes it made in attempting to comply with

the Rule. As described previously above, Delta expects that the requirement to

display ancillary fees at the first page of search results will result in a cluttered

appearance. It could also result in customer confusion and in misleading

customers by presenting inaccurate information, as Delta has not at that point in

the search process confirmed the passenger-specific information selected by the

customer, including what fare the customer will choose, what their frequent flyer

status is, or what form of payment they will be using. Such information has a direct

impact on the cost of Delta’s ancillary products to that particular purchaser; if the


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customer does not provide accurate information at this juncture in the shopping

process, they will receive inaccurate results back.

      29.   Delta anticipates that the Rule will be harmful to consumers and

Delta’s business by adding significant processing demands on Delta’s systems and

will slow search functionality for customers. In its experience evaluating

customer satisfaction and desired customer experience, it is critical that search

times be reasonable. The speed at which airline searches load is highly related to

whether customers actually book airline tickets. Delta has thus designed its

current website to efficiently processes searches. The longer a website takes to

return results, the higher the risk that customers will pursue an alternative to

delta.com. Given those harms, we anticipate we would likely seek to return to pre-

Rule conditions if the Rule were invalidated.

I declare under penalty of perjury that the foregoing is true and correct.



Dated: June 11, 2024                      _____________________________

      Atlanta, Georgia                    Michael Hecht




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DECLARATION OF KRISTINA LARSON, MANAGING DIRECTOR,
     DISTRIBUTION, SALE ANALYTICS, & ALLIANCES,
         HAWAIIAN AIRLINES, INC. (JUNE 7, 2024)




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     Case: 24-60231     Document: 37      Page: 66    Date Filed: 06/14/2024




                                No. 24-60231

                                     In the

         United States Court of Appeals
                                    for the
                             Fifth Circuit
                          ______________________________

AIRLINES FOR AMERICA, ALASKA AIRLINES, INC., AMERICAN AIRLINES, INC., DELTA AIR
                     LINES, INC., HAWAIIAN AIRLINES, INC.,
               JETBLUE AIRWAYS CORP., UNITED AIRLINES, INC.,
                                  Petitioners,

                                      – v. –

                      DEPARTMENT OF TRANSPORTATION,
                                Respondent.
                        ______________________________

     DECLARATION OF KRISTINA LARSON, MANAGING DIRECTOR,
         DISTRIBUTION, SALE ANALYTICS, & ALLIANCES, OF
                   HAWAIIAN AIRLINES, INC.
                    ______________________________




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      Pursuant to 28 U.S.C. § 1746, I, KRISTINA LARSON, hereby declare as

follows:

      1.     I am the Managing Director, Distribution, Sale Analytics, & Alliances,

at Hawaiian Airlines, Inc. (“Hawaiian”). Hawaiian’s principal place of business is

3375 Koapaka Street, Suite G350, Honolulu, HI 96819. Hawaiian is a member of

Airlines for America. I am authorized to make this declaration on Hawaiian’s

behalf, and I am personally familiar with the facts stated herein.

      2.     I am aware that the Department of Transportation has now finalized

the rule titled “Enhancing Transparency of Airline Ancillary Service Fees,” 89 Fed.

Reg. 34,620 (Apr. 30, 2024) (“the Rule”), which is the subject of the above-

referenced case.

      3.     I understand that the Rule imposes new disclosure requirements for

what it deems “critical ancillary fees,” including fees for a first checked bag, second

checked bag, and carry-on bag, as well as any flight change or cancellation fees. I

understand that the Rule requires airlines and ticket agents to disclose these fees

“during the itinerary search process at the first point where a fare and schedule is

provided in connection with a specific itinerary.” 89 Fed. Reg. at 34,621.

      4.     My understanding is that the Rule additionally requires airlines to

“share critical ancillary fee information with any entity that is required by law to

disclose” such fee and policy information to consumers, including ticket agents. Id.


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at 34,659.

      5.     Hawaiian supplies the travel industry with a schedule of flights that

are offered at certain fares, and with ancillary fees associated with those fares. For

consumers, Hawaiian shares this flight, fare, and fee information in several

different ways, and it can offer special fares from more cost efficient methods of

booking. For example, consumers can (1) book tickets directly on Hawaiian’s

consumer-facing website, www.hawaiianairlines.com (the “Website”), (2) go to an

online travel agency (like Expedia) to reserve tickets themselves, or (3) work with

a brick-and-mortar travel agency, which is often the method of choice for larger

businesses that book high volumes of travel. For travel agencies to sell flights and

ancillary products to their clients, they need access to flight data from the airlines.

While travel agencies receive certain ancillary content via a decades-old

technology, called Electronic Data Interchange for Administration, Commerce and

Transport (“EDIFACT”), travel agencies do not have the technology to access full

information directly from airlines, so they work with technology companies in

order to view this flight data and other related information.

      6.     Sabre, Amadeus and Travelport, for example, are technology

companies that operate various businesses, including so-called Global

Distribution Systems or “GDSs.” These legacy GDSs use EDIFACT to collect and

process flight information and then distribute this information to a network of


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subscribers through a comparison-shopping interface where travel agencies can

search for flights.

      7.     More recently, an alternative technology standard, called New

Distribution Capability (“NDC”), has gradually emerged in the airline industry.

Unlike EDIFACT, which relies on companies using GDS technologies to collect,

process, and distribute flight products through their network, NDC allows the

airline to generate their own offers—consisting of a particular flight, seat class,

and fare—and send them directly to third parties. Since the emergence of NDC, a

next generation of technology businesses have provided software and services for

travel agencies to connect directly to NDC airlines. Some of these NDC-focused

technology businesses provide travel agencies with the option to connect to

numerous NDC airlines and thus are commonly referred to as “NDC Aggregators.”

Some companies operate both a GDS business and an NDC Aggregator business.

      8.     While Hawaiian can and does distribute certain ancillary information

to GDSs, Hawaiian is not presently able to use EDIFACT to disclose all of the

schedule of flights and “critical ancillary fee” information in compliance with the

Rule. With EDIFACT, GDSs consume static pricing and schedule data which is then

augmented with real time inventory by the airline. It is not technically possible on

EDIFACT to personalize itineraries based on information specific to the passenger

(e.g., the passenger’s status in the airline’s frequent flyer program, the passenger’s


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military status, or the passenger’s status as a holder of a particular credit card)

that was affirmatively provided by that passenger.

      9.    Hawaiian is investing significant cost and effort towards providing

passenger-specific information via NDC, but this deployment will take time. When

a passenger provides details to a ticket agent, NDC can transmit that information

to the airline through the NDC Aggregator, which would then make it possible for

Hawaiian to send back passenger-specific information. But there are significant

hurdles to clear and developments that need to be made before this is made

possible.

      10.   First, Hawaiian, NDC Aggregators, and travel agencies must develop

and utilize NDC. This will require significant technical investments to upgrade

travel agents’ and GDSs’ systems, and which may take years to achieve. Sabre,

Amadeus and Travelport, the three largest companies in the world that operate

GDSs , still transact the majority of air transactions through EDIFACT.

      11.   Second, assuming NDC Aggregators and travel agencies implement

and commit to utilizing NDC, Hawaiian would need to negotiate contracts with

them to allow for NDC connectivity to account for the new disclosure

requirements. These agreements typically take between 6 to 12 months to

negotiate. Often technical integrations take 6 to 12 months or longer due to

backlog of integration projects at the NDC Aggregators. In addition, Hawaiian will


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require that its technology provider for NDC connectivity make modifications to

the current platform to meet the disclosure requirements, which will require

additional time. This puts the minimum timeline to comply at one to two years

from the start of negotiations if all things go smoothly.

      12.    If forced to comply, the Rule requires Hawaiian to share passenger-

specific data with ticket agents no later than October 30, 2024, which would

require a herculean effort based on the required timeframe for technical upgrades,

especially given the number of entities that are involved.

      13.    If the Rule’s effective date is not stayed, Hawaiian must immediately

begin incurring costs to negotiate new contracts and commence the technology

upgrades required for all NDC Aggregators and travel agency partners to share

passenger-specific information. Hawaiian must also plan to disable the legacy

EDIFACT distribution standard on October 30, 2024 to prevent distributing

inaccurate, non-passenger-specific content to third party distribution providers

who are unable to migrate to the NDC standard. This will result in a revenue loss

of millions of dollars per month, as consumers will no longer be able to book travel

through those channels. Such costs and revenue losses will not be recoverable if

the Rule is invalidated.




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      I declare under penalty of perjury under the laws of the United States that

the foregoing is true and correct.

Dated: June _7_, 2024

      Dubai, United Arab Emirates        _____________________________
                                         KRISTINA LARSON




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  DECLARATION OF TRACY BEHLER, SENIOR DIRECTOR,
ONLINE EXPERIENCE, HAWAIIAN AIRLINES, INC. (JUNE 6, 2024)




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DocuSign Envelope ID: 785E6CAC-CB62-4333-BF22-24CDFCB07F0A
                      Case: 24-60231          Document: 37        Page: 74   Date Filed: 06/14/2024




                                                        No. 24-60231

                                                              In the

                            United States Court of Appeals
                                                             for the
                                                     Fifth Circuit
                                                 ______________________________

               AIRLINES FOR AMERICA, ALASKA AIRLINES, INC., AMERICAN AIRLINES, INC., DELTA AIR
                                    LINES, INC., HAWAIIAN AIRLINES, INC.,
                              JETBLUE AIRWAYS CORP., UNITED AIRLINES, INC.,
                                                 Petitioners,

                                                              – v. –

                                             DEPARTMENT OF TRANSPORTATION,
                                                       Respondent.
                                               ______________________________

                      DECLARATION OF TRACY BEHLER, SENIOR DIRECTOR, ONLINE
                             EXPERIENCE, OF HAWAIIAN AIRLINES, INC.
                                     ______________________________




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                      Case: 24-60231          Document: 37          Page: 75   Date Filed: 06/14/2024




                    Pursuant to 28 U.S.C. § 1746, I, TRACY BEHLER, hereby declare as follows:

                    1.       I am the Senior Director, Online Experience, at Hawaiian Airlines, Inc.

            (“Hawaiian”). Hawaiian’s principal place of business is 3375 Koapaka Street, Suite

            G350, Honolulu, HI 96819. Hawaiian is a member of Airlines for America. I am

            authorized to make this declaration on Hawaiian’s behalf, and I am personally

            familiar with the facts stated herein.

                    2.       Hawaiian is Hawaiʻi's largest and longest-serving airline. Hawaiian

            offers approximately 150 daily flights within the Hawaiian Islands, and nonstop

            flights between Hawaiʻi and 15 U.S. gateway cities, as well as service connecting

            Honolulu and American Samoa, Australia, Cook Islands, Japan, New Zealand, South

            Korea and Tahiti.

                    3.       I am aware that the Department of Transportation has now finalized

            the rule titled “Enhancing Transparency of Airline Ancillary Service Fees,” 89 Fed.

            Reg. 34,620 (Apr. 30, 2024) (“the Rule”), which is the subject of the above-

            referenced case.

                    4.       I understand that the Rule imposes new disclosure requirements for

            what it deems “critical ancillary fees,” including fees for a first checked bag, second

            checked bag, and carry-on bag, as well as any flight change or cancellation fees. I

            understand that the Rule requires airlines and ticket agents to disclose these fees

            “during the itinerary search process at the first point where a fare and schedule is


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            provided in connection with a specific itinerary.” 89 Fed. Reg. at 34,621.

                    5.       My understanding is that the Rule additionally requires carriers and

            ticket agents to disclose any applicable limits on a checked or carry-on bag’s

            weight and dimensions before ticket purchase on an online platform, but not

            necessarily “at the first point where a fare and schedule is provided.” It similarly

            requires disclosure of “ticket change and cancellation policies” before a consumer

            purchases a ticket on an online platform.

                    6.       Hawaiian already discloses ancillary fees associated with baggage, as

            well as flight change and cancellation, on its website. When a consumer goes to

            Hawaiian’s website at www.hawaiianairlines.com (the “Website”), there is a link

            at the top right of the page – “Optional Fees.” If a consumer clicks on that

            “Optional Fees” link, it takes the consumer to a page with information on baggage

            rules and restrictions. Those rules and restrictions include, among other things,

            information regarding:

                    (a)      a military baggage exception;

                    (b)      fees for first checked bag, second checked bag and each additional
                             checked bag;

                    (c)      a description of entitlements if you are, i.e., a Pualani Platinum
                             Member;

                    (d)      excess weight and oversize fees applicable by destination; and

                    (e)      reservation and cancelation fees.


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                                                             - SA73 -
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                    7.       To conduct a search and create an itinerary, a consumer can start

            their flight search using the booking widget on the home page of the Website or by

            going to the “Book a Flight” page, which is accessible by hitting the “Book” link

            located on the top navigation bar on the Website’s Home page. Once a consumer

            inputs travel details such as travel dates and travel destinations, it takes the

            consumer to a flight results page (the “Flight Results Page”) that displays, among

            other things, options for available flights and the fares for each by flight type (i.e.,

            Main Cabin, Main Cabin Refundable, and First Class). This page includes a link to

            “baggage fees” displayed at the top of the page above the search results.

                    8.       To provide consumers with the ancillary fees information in the form

            the Rule requires—“at the first point where a fare and schedule is provided in

            connection with a specific itinerary”— which would be the Flight Results Page, it

            would take months to develop and surface a generic, non-passenger-specific list of

            all baggage fees.

                    9.       Aside from the manhours that would be required to reengineer the

            Website to display generic, non-passenger-specific list of all baggage fees, such

            reengineering would result in a cluttered user interface, which would make it

            more difficult for consumers to make their flight selections and complete the

            booking. My view is that the new interface would result in a negative guest

            experience where consumers are shown irrelevant or extraneous information,


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            which may confuse consumers or make their booking process less efficient, and

            cause them to abort the booking process, ultimately resulting in a negative impact

            on revenue.

                    10.      For example, HawaiianMiles members fly with some frequency and

            are likely already aware of what fees apply or do not apply to them. It is important

            to Hawaiian’s relationship with those members to provide an efficient booking

            process. Many HawaiianMiles members do not sign in when they start their flight

            search, so Hawaiian will have no way of confirming whether the consumer is a

            HawaiianMiles member to be able to display which baggage entitlements they may

            have. If consumers do not accurately reflect their membership in the booking

            process, they will receive information back that is ultimately inaccurate, which will

            create a negative guest experience. Also, as Hawaiian offers many nonstop flights

            a day between the Hawaiian islands, the additional disclosures will make it more

            difficult for HawaiianMiles members to see the full schedule of flights. Displaying

            irrelevant or extraneous information will not only cause confusion but will

            interrupt the booking process and create a negative guest experience.

                    11.      The Rule also requires airlines to meet the passenger-specific fee

            disclosure requirements for critical ancillary services by April 30, 2025.

                    12.      To meet the Rule’s requirements, Hawaiian will need to build custom

            logic to determine what entitlements a passenger or passengers on a booking are


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                                                             - SA75 -
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            eligible for so that Hawaiian can display the correct pricing or fee amount they are

            entitled to. These factors include the type of trip they are searching for (i.e.,

            neighbor island, North America, international), the class of service they want,

            loyalty status, credit card or military status. This would require Hawaiian to re-

            think and re-design its booking path user experience to recognize the user and

            what fees are specifically applicable to them.

                    13.      Even assuming this can be accomplished by the deadline for

            compliance, there will be instances when the Rule’s objectives will not be met

            where the ancillary fees: (a) shown at the time of building the itinerary are

            accurate, but at the time of purchase may change depending on the type of

            payment used; or (b) shown at the time of building the itinerary and at the time of

            purchase is accurate, but are inaccurate at the time the passenger flies.

                    14.      An example of a situation described in 13(a) is with consumers who

            pay using the Hawaiian Airlines Mastercard. If consumers do not accurately

            provide that information in the passenger-specific search, these consumers will be

            shown ancillary fees related to checked bags, at which point they might not

            proceed with the booking but opt to book with an airline that does not charge for

            checked bags. But if they had proceeded with the transaction and used a Hawaiian

            Airlines credit card to pay for the booking, they would have seen that they are

            entitled to a free checked bag. Hawaiian will have lost revenue due to the


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                                                             - SA76 -
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            inaccurate display of ancillary fees.

                    15.      With the situation described in 13(b), consumers who are notified of

            their entitlements at the time of booking – i.e., elite members who have free

            checked bags – but who fall out of elite status at the time of flying, will have been

            under the impression that they would not need to pay baggage fees, so when

            required to pay for such fees, consumers will be left with a negative guest

            experience and may not want to book on Hawaiian in the future.

                    16.      Above describes some of the impacts that Hawaiian foresees but it

            anticipates that additional impacts as well the costs and time it will take to comply

            will become apparent once Hawaiian begins the process towards complying. To

            meet the Rule’s compliance deadline, significant resources allocated to other, high-

            priority initiatives, would need to be assigned to this project, which would impact

            other commercial web/mobile projects and result in decreased revenue, increased

            costs and negative guest experience.

                    17.      An example of a high priority project that Hawaiian is actively

            working on since January 2024 is to enable features on its web and mobile

            channels to allow customers to, e.g., modify or cancel a flight online rather than

            having to call the Contact Center to complete a transaction. This project is

            expected to take two years to complete.                     The same business and technical

            resources dedicated to this project are the same as those that would be tasked with


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            implementing changes to Hawaiian’s digital channels to comply with the Rule.



                    I declare under penalty of perjury that the foregoing is true and correct.

                    Dated: June6__, 2024

                    Honolulu, Hawaii                            _____________________________
                                                                TRACY BEHLER




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                                                             - SA78 -
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       DECLARATION OF CAROL CLEMENTS,
    CHIEF DIGITAL AND TECHNOLOGY OFFICER,
  JETBLUE AIRWAYS CORPORATION (JUNE 10, 2024)




                          - SA79 -
      Case: 24-60231     Document: 37      Page: 83    Date Filed: 06/14/2024




                                 No. 24-60231


                                      In the

          United States Court of Appeals
                                     for the
                              Fifth Circuit
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 AIRLINES FOR AMERICA, ALASKA AIRLINES, INC., AMERICAN AIRLINES, INC., DELTA AIR
                      LINES, INC., HAWAIIAN AIRLINES, INC.,
                JETBLUE AIRWAYS CORP., UNITED AIRLINES, INC.,
                                   Petitioners,

                                       – v. –

                       DEPARTMENT OF TRANSPORTATION,
                                 Respondent.
                         ______________________________

DECLARATION OF CAROL CLEMENTS OF JETBLUE AIRWAYS CORPORATION
                    ______________________________




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Pursuant to 28 U.S.C. § 1746, I, CAROL CLEMENTS hereby declare as follows:

      1.     I am the Chief Digital and Technology Officer at JetBlue Airways

Corporation (JetBlue). JetBlue’s principal place of business is 27-01 Queens Plaza

North, Long Island City, New York 11101. I am authorized to make this declaration

on JetBlue’s behalf, and I am personally familiar with the facts stated herein.

      2.     JetBlue is a Part 121 commercial air carrier that is New York's

Hometown Airline®️, and a leading carrier in Boston, Fort Lauderdale-Hollywood,

Los Angeles, Orlando, and San Juan. JetBlue carries customers to more than 100

cities throughout the United States, Latin America, Caribbean, Canada, and United

Kingdom

      3.     I am aware that the Department of Transportation has now finalized

the rule titled “Enhancing Transparency of Airline Ancillary Service Fees,” 89 Fed.

Reg. 34,620 (Apr. 30, 2024) (“the Rule”), which is the subject of the above-

referenced case.

      4.     I understand that the Rule imposes new disclosure requirements for

what it deems “critical ancillary fees,” including fees for a first checked bag, second

checked bag, and carry-on bag, as well as any flight change or cancellation fees. My

understanding is that the Rule requires airlines and ticket agents to disclose these

fees “during the itinerary search process at the first point where a fare and

schedule is provided in connection with a specific itinerary.” 89 Fed. Reg. at




                                      - SA81 -
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34,621.

      5.     I understand that the Rule additionally requires carriers and ticket

agents to disclose any applicable limits on a checked or carry-on bag’s weight and

dimensions before ticket purchase on an online platform, but not necessarily “at

the first point where a fare and schedule is provided.” My understanding is that

the Rule similarly requires disclosure of “ticket change and cancellation policies”

before a consumer purchases a ticket on an online platform.

      6.     Finally, my understanding is that the Rule requires airlines to provide

fare, schedule, and availability information to ticket agents that is “useable,

current and accurate.” Id. at 34,631.

      7.     JetBlue already provides consumers the information on ancillary fees

the Rule covers at various points throughout the booking flow, as well as on

content pages on jetblue.com. Checked baggage allowances and fees are also

presented to the customer at the earliest possible point to be accurate for both the

flight chosen and the specific person travelling. As shown in the below screenshot,

after the customer has entered their traveler information (name, frequent flyer

information, etc.) JetBlue displays the fees for checking baggage and other

ancillary offerings, which are specific to the customer traveling, the dates they are

traveling, and the flight they have selected. The customer can click the “add bags”

link to see the pricing per segment per bag.




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Additionally, this information is available at anytime for customers to view on our

jetblue.com content pages, which, as shown in the below screenshot can be

accessed in a single click from the homepage with the hyperlink “Updated bag

fees.” The red box has been added below for ease of review by the court.




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Baggage information also can be easily navigated to from our home page by

clicking “Travel Info” then “Bag Info”. As shown below with screenshots, that

webpage provides information on carry-on and checked bags and fees.




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As displayed below, change and cancel fee information—as well as carry-on bag

information—is presented to the customer on the fare modal pop up, which is

available to view by clicking the “compare fares” link on the flight results under a

specific flight.




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      8.    To provide ancillary fee information in the manner the Rule requires,

JetBlue will be forced to make substantial changes to its online platform.

      9.    The Rule is entirely incompatible with JetBlue’s current technology to

display airfare. Its main technology partner, Sabre, does not currently support the

inclusion of ancillary catalogue details (e.g., 1st or 2nd checked baggage, carry-on

baggage, or change/cancel rules) in the way airfare is shopped. The Sabre

webservices that JetBlue’s e-commerce stack uses are built in a traditional

“booking flow” manner (select outbound flight/fare, select return flight/fare,

enter traveler details, select any ancillaries, enter payment, confirm booking). The

current construct and infrastructure does not support making the ancillary

request so early in the booking flow.

      10.   Determining baggage fees is a highly complex algorithm that requires

several inputs of information to render fees accurately. Much of this information

is captured only after the actual person travelling is identified, which does not

occur on the initial ‘flight results’ page. Displaying the correct fees to a unique

customer requires certain information, including, but not limited to, a traveler’s

frequent flyer number. On JetBlue’s online platform, customers do not provide this

information until the ‘traveler details’ page, thus making it impossible to display

the unique pricing for any baggage fees or allowances on the ‘flight results’ page

without completely redesigning the booking flow.




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      11.    Displaying accurate baggage fee information also must account for all

airlines that are part of the itinerary and how the itinerary is sold, including the

fare brand selected, the traveler’s loyalty and/or co-brand status and passenger

type, among others. This is all stored and managed in highly complex filings within

the Airline Tariff Publishing Company (ATPCO) database, an industry clearing

house where airlines file and store their fares and ancillary fees. The requests for

baggage allowances and fees are sent only for the flight and fare the customer

selected on shopping results to ensure an accurate response taking into account

all the aforementioned variables. Rendering “what if” ancillary pricing for every

possible flight shopping result returned, for every possible variable, would drive a

significant amount of up-front calculation logic that does not exist today. This

would lead to increased processing time for our digital booking channels. Given

the complex logic that would have to be designed and built to obtain this

information for every flight returned in as shopping request, we estimate that the

changes would add at least 2 minutes in additional processing and search time to

display the flight results, and all the required ancillary fee information for a single

nonstop route. This additional processing time would increase for more robust

itineraries that include connecting options or flights operated by our codeshare

partners. As a result, such additional processing time would negatively impact

JetBlue’s booking conversion and increase our bounce rate – i.e., customers who




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give up on a search because it was not fast enough-a critical metric to any online

point of sale. We anticipate a drop in our conversion rate of up to 10%, resulting

in less revenue for JetBlue. In an era where the speed of online retailing platforms

is near instant (sub-second processing time), a customer waiting minutes for

results on standard searches would significantly damage our online booking

experience, as customers would view it as slow and unresponsive. This would

have a downline negative impact on the overall JetBlue brand and user experience

as being behind the times with respect to technology and modern online

merchandising.

       12.    Change/Cancel fees also have variation within the ATPCO filings

based on route, fare option, cabin, etc. JetBlue provides this information statically

today in its fare modals—during the initial flight selection. It is also provided in

great detail on our content pages located on jetblue.com. Current technology does

not support displaying this information dynamically and in real time based on

flight results.

       13.    Similar to the costs and challenges associated with JetBlue’s direct

channels, compliance with the DOT rule in third party distribution channels like

the Global Distribution Systems (GDS) used by travel agents, or the Online Travel

Agencies (OTAs) like that of Expedia, would also be highly complex and

cumbersome. The indirect channels also get their ancillary fee information from




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the same ATPCO filings as the airline and follow a traditional booking flow process

whereby ancillaries are priced and added to an itinerary after flight selection.

Thus, the new rule would require a significant investment by both the airline and

the third-party distribution partners to redesign the flow of fee information and

implement enhanced levels of technology that JetBlue does not support today, and

are several years away on our IT roadmap.

      14.   Making the changes discussed in ¶¶ 9-13 requires a complete

reworking of the underlying Sabre host PSS technology, along with rewriting

JetBlue’s website to support a new shopping flow. JetBlue has no control over

Sabre’s software development.

      15.   JetBlue estimates it would need to expend $6-10 million in IT

investments, including internal employee capital costs, external costs for any staff

augmentation that may be required, as well as business partner costs for

applications that JetBlue does not do direct development for, to comply with the

Rule’s disclosure requirements. This estimate does not include any joint

investment Sabre may seek from all their user airlines to support the necessary

underlying PSS enhancements that would also be required.

      16.   In order to meet the requirements and timeline set forth by the DOT,

JetBlue would have to immediately start spending a significant amount of time and

money, and re-allocate critical internal and business partner resources, on this




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redesign effort, which is not something the company is in a position to do at this

time. As publicly stated in our earnings, JetBlue has suffered losses over two

billion dollars ($2B) since the start of Covid. The company’s sole focus is on

returning to a state of consistent profitability while running a safe and reliable

operation. Spending money on an effort that doesn’t contribute to our safety,

profitability or reliability is counter to our critical and necessary objectives.

      17.    In addition to the direct costs JetBlue will incur to comply with the

Rule, it will also suffer significant opportunity costs. JetBlue’s IT roadmap is built

out for the next two years with a number of high priority loyalty and revenue

driving initiatives worth over $300M that support our path to getting back to

profitability as soon as possible. The Rule will enormously—and irreparably—

disrupt execution on these initiatives, and delay our return to being a profitable

and financially healthy airline.

      18.    Additionally, if JetBlue were to make the significant investments

required to adhere to the Rule and it were ultimately invalidated at a later date,

the company would incur more costs to stop and unwind the development that

has been done. Any sunk costs would be taken as a financial write off, further

harming our financial state and delaying our return to profitability. Based upon

my experience, the requirements of the Rule go against modern e-commerce best

practices, so if not for the Rule itself, there is no way JetBlue would ever take on




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such a massive redesign effort in the first place.



      I declare under penalty of perjury that the foregoing is true and correct.



Dated: June 10, 2024                      _____________________________

      Long Island City, NY                Carol Clements




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   DECLARATION OF MICHAEL PETERMANN,
MANAGING DIRECTOR–CUSTOMER STRATEGY AND
INNOVATION, UNITED AIRLINES, INC. (JUNE 6, 2024)




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- SA96 -
           Case: 24-60231   Document: 37   Page: 100   Date Filed: 06/14/2024




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  DECLARATION OF JOHN PEPPER, VICE PRESIDENT,
CORPORATE DEVELOPMENT & GOVERNMENT AFFAIRS,
       ALLEGIANT TRAVEL CO. (JUNE 7, 2024)




                           - SA99 -
    Case: 24-60231     Document: 37      Page: 103     Date Filed: 06/14/2024




                                No. 24-60231

                                     In the

         United States Court of Appeals
                                    for the
                             Fifth Circuit
                          ______________________________

AIRLINES FOR AMERICA, ALASKA AIRLINES, INC., AMERICAN AIRLINES, INC., DELTA AIR
                     LINES, INC., HAWAIIAN AIRLINES, INC.,
               JETBLUE AIRWAYS CORP., UNITED AIRLINES, INC.,
                                  Petitioners,

                                      – v. –

                      DEPARTMENT OF TRANSPORTATION,
                                Respondent.
                        ______________________________

  DECLARATION OF JOHN PEPPER, VICE PRESIDENT OF CORPORATE
  DEVELOPMENT & GOVERNMENT AFFAIRS AT ALLEGIANT TRAVEL
                            COMPANY
                   ______________________________




                                   - SA100 -
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      Pursuant to 28 U.S.C. § 1746, I, JOHN PEPPER hereby declare as follows:

      1.     I am the Vice President of Corporate Development & Government

Affairs at Allegiant Travel Company. Allegiant’s principal place of business is 1201

N. Town Center Dr. Las Vegas, NV 89144. Allegiant is a member of the National Air

Carrier Association. I am authorized to make this declaration on Allegiant’s behalf,

and I am personally familiar with the facts stated herein.

      2.     Allegiant Air is an ultra-low-cost carrier serving leisure customers

with an emphasis on connecting small and medium-sized domestic markets with

nonstop service to world class vacation destinations.

      3.     I am aware that the Department of Transportation has now finalized

the rule titled “Enhancing Transparency of Airline Ancillary Service Fees,” 89 Fed.

Reg. 34,620 (Apr. 30, 2024) (“the Rule”), which is the subject of the above-

referenced case.

      4.     I understand the Rule imposes new disclosure requirements for what

it deems “critical ancillary fees,” including fees for a first checked bag, second

checked bag, and carry-on bags, as well as any flight change or cancellation fees.

The Rule requires airlines and ticket agents to disclose these fees “during the

itinerary search process at the first point where a fare and schedule is provided in

connection with a specific itinerary.” 89 Fed. Reg. at 34,621.

      5.     I understand the Rule additionally requires carriers and ticket agents


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to disclose any applicable limits on a checked or carry-on bag’s weight and

dimensions before ticket purchase on an online platform, but not necessarily “at

the first point where a fare and schedule is provided.” It similarly requires

disclosure of “ticket change and cancellation policies” before a consumer

purchases a ticket on an online platform.

      6.     Allegiant already discloses ancillary fees associated with baggage, as

well as flight change and cancellation policies, on its website. Throughout the

customer’s booking journey, the pricing of all optional products and services are

conspicuously displayed before the customer can select the product or service as

well as before the customer completes a transaction. In addition, Allegiant’s

website has a page dedicated to clearly laying out the price range for each service,

as well as a calculator to determine the exact price of baggage fees on all Allegiant

routes for a specific day. Ultimately, Allegiant customers utilizing the current

system can only complete their transaction after seeing all selected fees applicable

to their trip. I have included screenshots of each step of our booking process from

a customer’s perspective as well as the separate page discussing all optional fees

and services (which can be accessed multiple ways through our website, including

the prominent link at the start of the booking path):




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                                5

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                                6

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                                7

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                                8

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                                9

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      7.     To provide consumers with this information in the form the Rule

requires—“at the first point where a fare and schedule is provided in connection

with a specific itinerary”—Allegiant would have to significantly reengineer the

customer experience on its marketing platforms and itinerary search functions.

These changes include, but may not be limited to, recording new system

requirements; creating and modifying UI (user interface) design and architecture

designs; development of API (application programming interface) calls and

orchestration to retrieve feeds data from the Navitaire system; development of UI

changes in website, mobile apps, travel agent portal, call center booking portal;

validation and testing of software changes; user acceptance testing; and finally

deployment of the product.

      8.     Allegiant anticipates it will likely take more time than the current

rules demand to fully implement these changes assuming multiple full

development teams are utilized. As a result, this rule will have direct financial and

resource costs which will result in other commercial and regulatory compliance

efforts being stopped to accommodate this. There will be direct support costs

incurred from third party software providers who may be required to change their

systems, and those costs are passed along to Allegiant.

      9.     I understand that the Rule provides compliance periods of 6 and 12

months, requiring airlines to meet the fee disclosure requirements for critical


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ancillary service by April 30, 2025.

      10.    To meet the Rule’s compliance deadline, Allegiant will need to begin

the processes described in paragraph 7 immediately, long before this litigation is

resolved.

      11.    If the Rule is not prevented from going into effect, Allegiant will thus

suffer immediate and substantial compliance costs as well as a material

opportunity cost of stopping upgrades to customer facing and revenue generating

initiatives. Allegiant will also have to procure additional third-party labor

resources to complete this development. Allegiant would not be able to recover

these significant compliance costs in the event the Rule is later found to be invalid.

      12.    This ruling would have a direct negative impact on Allegiant’s

business by adding unnecessary friction and confusion to the customer journey.

In our experience all additional friction in the transaction process results in more

abandoned carts and increases volume to our customer call center.



I declare under penalty of perjury that the foregoing is true and correct.




                                          11

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JOINT DECLARATION OF EDWARD M. CHRISTIE III, PRESIDENT
 AND CHIEF EXECUTIVE OFFICER, SPIRIT AIRLINES, INC., AND
BARRY L. BIFFLE, CHIEF EXECUTIVE OFFICER, FRONTIER GROUP
  HOLDINGS, INC. D/B/A FRONTIER AIRLINES (JUNE 14, 2024)




                              - SA112 -
      Case: 24-60231     Document: 37     Page: 116     Date Filed: 06/14/2024




                                 No. 24-60231

                                      In the
                 United States Court of Appeals
                             for the Fifth Circuit
                           ______________________________

   AIRLINES FOR AMERICA, NATIONAL AIR CARRIER ASSOCIATION, INTERNA-
TIONAL AIR TRANSPORT ASSOCIATION, ALASKA AIRLINES, INC., AMERICAN AIR-
  LINES, INC., DELTA AIR LINES, INC., HAWAIIAN AIRLINES, INC., JETBLUE AIR-
                WAYS CORPORATION, AND UNITED AIRLINES, INC.,
                                                                   Petitioners,

                                        v.

                       DEPARTMENT OF TRANSPORTATION,
                                                                        Respondent.
                       ______________________________

JOINT DECLARATION OF EDWARD M. CHRISTIE III, PRESIDENT
 AND CHIEF EXECUTIVE OFFICER, SPIRIT AIRLINES, INC. AND
BARRY L. BIFFLE, CHIEF EXECUTIVE OFFICER, FRONTIER GROUP
         HOLDINGS, INC. D/B/A FRONTIER AIRLINES
                    ______________________________




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      Pursuant to 28 U.S.C. § 1746, we Edward M. Christie III and Barry L.

Biffle hereby declare as follows:

      1.    I, Edward M. Christie III am the President and Chief Executive

Officer, and a Class III Director, at Spirit Airlines, Inc. (“Spirit”). Spirit’s

principal place of business is 139 South Compass Way, Dania Beach, Florida,

33004. Spirit is a member of the National Air Carrier Association (“NACA”).

I am authorized to make this declaration on Spirit’s behalf, and I am person-

ally familiar with the facts stated herein.

      2.    I, Barry L. Biffle am Chief Executive Officer of Frontier Group

Holdings, Inc. d/b/a Frontier Airlines (“Frontier”). Frontier’s principal

place of business is 4545 Airport Way, Denver, Colorado 80239. Frontier is

a member of the National Air Carrier Association (“NACA”). I am author-

ized to make this declaration on Frontier’s behalf, and I am personally famil-

iar with the facts stated herein.

      3.    References herein to Spirit are made by Mr. Christie and refer-

ences to Frontier are made by Mr. Biffle. Use of “we” means that both Mr.

Canfield and Mr. Biffle are knowledgeable of the stated fact.

      4.    Spirit began service as Charter One Airlines, in 1983 following

passage of the Airline Deregulation Act of 1978 (“ADA”).             The ADA

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included a policy statement which envisions an air transportation system

based on competition and promotes the development of low fares and new

entrants. In 1992, the company’s name was changed to Spirit Airlines and it

began scheduled service. In 2007, Spirit introduced a low-fare business

model in the United States that separated the base fare for travel from addi-

tional services a customer might want, such as a checked bag, so it could

offer the lowest possible base fare. Spirit’s business model has generally

been referred to as an “unbundled” business model. Spirit’s target custom-

ers are people traveling for leisure, to visit family and friends or for small

business.

      5.    The current Frontier, in various iterations, dates to 1993 and be-

gan its transition to low fares in the early 2000’s. In 2014, Frontier transi-

tioned to an ultra-low-cost carrier (ULCC) business model. Frontier’s target

customers also are people traveling for leisure, to visit family and friends, or

for small business.

      6.    Spirit and Frontier are the two largest low-fare airlines in the

country. Together they account for a combined market share of approxi-

mately 8.7 percent.

      7.    We understand that the Department of Transportation (the

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“Department”) has issued a final rule titled “Enhancing Transparency of

Airline Ancillary Service Fees,” 89 Fed. Reg. 34,620 (Apr. 30, 2024) (“the

Rule”), which is the subject of the above-referenced case.

        8.    We understand the Rule imposes new disclosure requirements

for what the Department describes as “critical ancillary fees,” including fees

for a first checked bag, second checked bag, and carry-on bag, as well as any

flight change or cancellation fees. We understand the Rule requires airlines

and ticket agents to disclose these fees “during the itinerary search process

at the first point where a fare and schedule is provided in connection with a

specific itinerary.” 89 Fed. Reg. at 34,621.

        9.    We understand that the Rule additionally requires carriers and

ticket agents to disclose any applicable limits on a checked or carry-on bag’s

weight and dimensions before ticket purchase on an online platform, but not

necessarily “at the first point where a fare and schedule is provided.” We

understand the Rule similarly requires disclosure of “ticket change and can-

cellation policies” before a consumer purchases a ticket on an online plat-

form.

        10.   Spirit, under current Department rules, already discloses ancil-

lary fees associated with baggage, as well as flight changes and cancellations,

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on its website. Customers can access baggage fees quickly before even be-

ginning the booking process on a link from the home page. Spirit has general

disclosures concerning baggage fees throughout its website. On the initial

flight search results page, Spirit indicates that baggage fees may apply and

includes a hyperlink to Spirit's baggage fee calculator. This baggage fee cal-

culator allows consumers to view whether there is a cost associated with a

first or second checked bag on their itinerary and the maximum weight al-

lowance per bag. Once flights are selected, Spirit displays, on the first page

after selection the baggage fees that apply for the itinerary selected based on

the information the passenger has provided. Spirit also discloses the bag-

gage fees on the purchase confirmation/receipt.

      11.   Frontier, under current Department rules already discloses an-

cillary fees associated with baggage, as well as flight changes and cancella-

tions, on its website. Customers can access baggage fees quickly before even

beginning the booking process through a link on the Frontier website

homepage. Frontier has general disclosures concerning baggage fees

throughout its website. On the initial flight search results page, Frontier dis-

plays the baggage fees that may apply and it includes a hyperlink to Fron-

tier's baggage fee calculator. This baggage fee calculator allows consumers

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to view whether there is a cost associated with a first or second checked bag

on their itinerary and the maximum weight allowance per bag. Once the

flights are selected, Frontier displays, on the first page after selection, the

baggage fees that will apply for the itinerary selected based on the infor-

mation that the passenger has provided. Frontier also discloses the baggage

fees on the purchase confirmation/receipt.

      12.   For Spirit to provide consumers with this information in the

form the Rule requires "at the first point where a fare and schedule is pro-

vided in connection with a specific itinerary,” it will need to completely reen-

gineer its website and mobile platforms. Because Spirit’s baggage fees may

vary based on specific markets, as well as the date and time of departure,

this is an incredibly complex problem to address – requiring significant time

and resources for development, coding and testing. As a low-cost carrier,

Spirit does not have a large in-house IT infrastructure. Spirit’s reservation/e-

commerce platform is provided and managed by a third-party vendor, and

Spirit will have to fund the third-party costs associated with the required

changes. Spirit’s experience with millions of customers has confirmed that

the vast majority of travelers have no issue with the current baggage and fee

displays. Moreover, it is essential that customers be able to conduct a search

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and make a purchase efficiently and within a reasonable time, consistent

with customer expectations of their e-commerce experiences, and the new

requirements would significantly slow down the processing time for a

search. Spirit will be required to commit resources and, directly or through

its third-party vendor, make large investments in hardware to significantly

increase the speed of the search function that it would not have otherwise

needed to commit.

      13.   For Frontier to provide consumers with this information in the

form the Rule requires "at the first point where a fare and schedule is pro-

vided in connection with a specific itinerary,” it will need to re-engineer its

booking platforms. Since Frontier uses dynamic pricing in calculating bag-

gage fees, it will need to invest significant time and resources for develop-

ment, coding and testing. As a low-cost carrier, Frontier does not have a

large in-house IT infrastructure. Frontier’s reservation system is provided

by a third-party vendor and Frontier will have to fund the third-party costs

associated with the required changes. It is essential that customers be able to

conduct a search and make a purchase within a reasonable period of time,

and the new requirements would significantly slow down the processing

time for a search. Frontier will be required to commit resources to

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significantly increase the speed of the search function that it would not have

otherwise needed to commit.

        14.   Spirit understands that to implement the changes required by

the rule with respect to its website and mobile app would take between 12

and 18 months, i.e. longer than the April 2025 implementation date under

the Rule. Without a stay, Spirit would need to start working on these

changes immediately, months before this Court can act on the merits. These

initial costs, including substantial pass-through costs from third-party ven-

dors and internal direct costs relating to a substantial re-coding of Spirit’s

third-party e-commerce platform systems are expected to exceed $10 mil-

lion.

        15.   Spirit currently faces serious financial and commercial issues re-

quiring an overhaul of its product offerings and business model. Major ad-

ditional harm to Spirit would arise from a chain-reaction of diverting staff

and capital expenditures away from priority revenue-enhancing projects

and IT upgrades to instead work on Rule compliance. These projects, now

underway or planned for the near term, include, among other areas of

Spirit’s business, e-commerce initiatives, changes to product design, cabin

layout initiatives, revisions to the merchandising of ancillary products,

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enhanced bundling options, cybersecurity initiatives, and changes to loyalty

and affinity card programs. Diversion of resources from those projects will

result in substantial forgone revenues estimated to range between $50-100

million over the next six months alone and continuing thereafter at some

pace during the period in which Spirit would be forced to delay current and

planned projects to comply with the Rule.

      16.   There are also significant unknowns, including inevitable costs

associated with issues the Department did not foresee, but should have,

when it implemented the Rule. For example, almost four percent (4%) of

Spirit Guests purchase their itineraries at the airport ticket counter, and there

is seemingly no current feasible solution to advertise to these customers all

the various optional products the Department demands in the Rule. Spirit,

and every other airline, will need to spend significant time and resources just

to consider whether to build entirely new display systems – in addition to

the hardware and installation costs if new systems are needed. Multiply

these resource cost demands by every other potential sale or advertisement

channel: websites, mobile applications, mobile websites, live contact centers,

conversational interactive voice response (IVR) systems, chatbots, ticket

agent channels, etc.      The resources required for these activities are

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extraordinary and directly compete in priority with each other.

      17.   Frontier understands that to implement the changes required by

the rule with respect to its website and mobile app would take between 12

and 18 months, i.e. longer than the April 30, 2025 implementation date under

the Rule. Without a stay, Frontier would need to start working on these

changes immediately, months before this Court can act on the merits. These

costs, including substantial pass-through costs from third-party vendors and

internal direct costs relating to a substantial re-coding of Frontier’s third-

party e-commerce platform and related IT systems are expected to exceed $5

million.

      18.   In recent months, Frontier has undertaken substantial changes to

its products and services. Diverting staff and capital expenditure away from

priority revenue-enhancing projects and IT upgrades to instead work on

Rule compliance will lead to lost revenue. These projects, now underway or

planned for the near term, include, e.g., revisions to the merchandising of

ancillary products, enhanced bundling options, cybersecurity initiatives,

and changes to loyalty and affinity card programs. Diversion of resources

from those projects will result in substantial forgone revenues estimated to

range between $30-50 million over the next six months.

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      19.   Unless the Rule is stayed, should the Court later find the Rule

invalid, neither Spirit nor Frontier will be able to recoup either the millions

of dollars in immediate compliance costs, nor tens of millions of dollars in

lost revenues resulting from having to delay or abandon new and innovative

product enhancements to drive new business and new customers.



We declare under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct.



For: Spirit Airlines, Inc.                  For: Frontier Group Holdings, Inc.



_____________________________               _____________________________

Edward M. Christie III                      Barry L. Biffle

Dated: June 14, 2024                        Dated: June 14, 2024

Dania Beach, Florida                        Denver, Colorado




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         DECLARATION OF ROSE NEALE,
 SENIOR VICE PRESIDENT AND GENERAL COUNSEL,
      SUN COUNTRY AIRLINES (JUNE 6, 2024)




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                                No. 24‐60231

                                     In the

         United States Court of Appeals
                                    for the
                             Fifth Circuit
                          ______________________________

AIRLINES FOR AMERICA, ALASKA AIRLINES, INC., AMERICAN AIRLINES, INC., DELTA AIR
                     LINES, INC., HAWAIIAN AIRLINES, INC.,
               JETBLUE AIRWAYS CORP., UNITED AIRLINES, INC.,
                                  Petitioners,

                                      – v. –

                      DEPARTMENT OF TRANSPORTATION,
                                Respondent.
                        ______________________________

DECLARATION OF ROSE NEALE, SENIOR VICE PRESIDENT AND GENERAL
    COUNSEL OF SUN COUNTRY, INC. DBA SUN COUNTRY AIRLINES
                    ______________________________




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       Pursuant to 28 U.S.C. § 1746, I, ROSE NEALE hereby declare as follows:

       1.      I am the Senior Vice President and General Counsel at Sun Country, Inc. dba Sun

Country Airlines (hereinafter “SCA”). SCA’s principal place of business is 2005 Cargo Road,

Minneapolis, MN 55450. SCA is a member of Airlines for America. I am authorized to make this

declaration on SCA’s behalf, and I am personally familiar with the facts stated herein.

       2.      SCA is a new breed of hybrid low-cost air carrier that deploys shared resources

across scheduled service, charter, and cargo businesses. Based in Minnesota, SCA serves leisure

and visiting friends and relatives passengers, charter customers, and provides Crew, Maintenance,

and Insurance service, with flights throughout the United States and to destinations in Canada,

Mexico, Central America, and the Caribbean.

       3.      I am aware that the Department of Transportation has now finalized the rule titled

“Enhancing Transparency of Airline Ancillary Service Fees,” 89 Fed. Reg. 34,620 (Apr. 30, 2024)

(“the Rule”), which is the subject of the above-referenced case.

       4.      I understand that the Rule imposes new disclosure requirements for what it deems

“critical ancillary fees,” including fees for a first checked bag, second checked bag, and carry-on

bag, as well as any flight change or cancellation fees. I understand that the Rule requires airlines

and ticket agents to disclose these fees “during the itinerary search process at the first point where

a fare and schedule is provided in connection with a specific itinerary.” 89 Fed. Reg. at 34,621.

       5.      My understanding is that the Rule additionally requires carriers and ticket agents to

disclose any applicable limits on a checked or carry-on bag’s weight and dimensions before ticket

purchase on an online platform, but not necessarily “at the first point where a fare and schedule is

provided.” I understand that it similarly requires disclosure of “ticket change and cancellation

policies” before a consumer purchases a ticket on an online platform.


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       6.      SCA already discloses ancillary fees associated with baggage, as well as flight

change and cancellation, on its website. Prior to conducting a flight search, passengers can access

SCA’s bag pricing and cancellation rules from a direct link on the SCA home page.




As shown in this screenshot, with a red box added for purposes of the declaration, the link is

prominently displayed above the fold on the booking widget and takes passengers to the bag fees

and optional services page, where travelers will find ancillary pricing and policies along with

change and cancellation fees and policies. Once a passenger enters the booking flow, the bag fees

are shown on the bags page, where SCA requires the passenger to take an action prior to moving

forward in the flow. The passenger must select an underseat item (free), an overhead bag, or a

checked bag before they can move forward in the booking process.

       7.      To provide consumers with this information in the form the Rule requires—“at the

first point where a fare and schedule is provided in connection with a specific itinerary”—SCA

would have to significantly reengineer its marketing platforms and itinerary search functions. SCA

would need to completely rearchitect how the information is displayed on the flights results page

to include bag pricing. To show bag pricing, SCA would need to request all bag prices for each

individual journey on the page and display the prices at the flight level. This would greatly impact

the performance of the page resulting in slow data load times, increasing a passenger’s likelihood

of abandoning their shopping session. An additional risk would be the page data timing out
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altogether resulting in a false message to the passenger that there are no flights results. This would

provide for overall site stability issues and a poor passenger experience.

       8.      In particular, in order to display exact pricing for ancillaries, SCA would need a

passenger to attribute the ancillaries to. Since the flight results page appears before a passenger

inputs their information in the booking process, SCA would run the risk of displaying inaccurate

bag prices. For example, members of the SCA loyalty program who are eligible for discounted bag

pricing, would be shown the full bag price amount on the flight results page. This is because SCA

requires passengers to be logged in and associate a passenger with the itinerary before it can display

discounted bag pricing. This information is not collected until the passenger information page,

which is displayed after the flight results page. To enable a passenger to input that information at

the outset of the process to enable more accurate bag pricing on the flight result page, for

themselves and for any other passengers traveling with them, SCA would have to substantially

reengineer its online platforms and search functions.

       9.      The Rule would also significantly impact SCA’s marketing programs. For example,

this Rule would require SCA to display bag prices in all marketing communications, which is not

possible with our current set up. The current set up does not have a mechanism to send ancillary

pricing to our marketing technology platforms. SCA would need to build a connection to send the

data and a set of rules within the platform to determine which pricing to display and work with

third-party advertising partners to get ancillary prices into their systems to display in all external

ads. It would be expensive and time-consuming to implement bag prices on marketing and

advertising materials and require SCA to share bag prices with third-party partners.

       10.     SCA anticipates it will take twelve to fifteen months to fully implement these

changes to the SCA website. Due to the small size of SCA’s development team and the short


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timeline, SCA would likely need to hire consultants to complete the work, which dramatically

increases the cost. These changes impact shared experiences, including how the displayed flight

and price information on the flight results page is used elsewhere on the website, so SCA would

need to make updates in booking and post-booking flows. SCA would also likely require

development and backend configuration changes from the third-party booking engine provider,

which increases costs and makes SCA beholden to the booking engine provider’s development

timeline.

       11.     I understand that Rule provides a compliance period of 12 months, requiring

airlines to meet the fee disclosure requirements for critical ancillary service by April 30, 2025.

       12.     To meet the Rule’s compliance deadline, SCA will need to begin IT

implementations immediately, long before this litigation is resolved.

       13.     If the Rule is not prevented from going into effect, SCA will thus suffer immediate

and substantial compliance costs largely related to building and maintaining the connections with

third-party distribution partners. The cost and time commitment of hiring contractors, reworking

the architecture of the flight results page and work needed from the third-party booking engine

provider would be extensive and require us to reallocate our IT team towards this initiative

effectively halting current IT initiatives, such as enhancing our mobile app, upgrading our

reservation system, and making enhancements to our check-in and self-service functionality, which

would affect the passenger experience. development on current initiatives. SCA would not be able

to recover these significant compliance costs in the event the Rule is later found to be invalid.

       14.     In addition to costs associated with the Rule’s fee-disclosure provisions, the Rule

requires airlines to “share critical ancillary fee information with any entity that is required by law

to disclose” such fee and policy information to consumers, including ticket agents. Id. at 34,659.


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        15.     SCA has a variety of distribution agreements with Global Distribution Systems

(GDS), Online Travel Agents (OTA), and tour operators. These agreements contain the terms by

which these distribution relationships function.

        16.     To comply with this provision, SCA will need to renegotiate existing contracts with

ticket agents to account for the new disclosure requirements. SCA will have to negotiate the details

of the information sharing requirements, including which entity will take on the technical burden

and cost. SCA will have to scope out technical requirements and build bespoke connections to

each distribution partner.

        17.     For the data-sharing provision, the Rule provides a compliance period of only 6

months, requiring airlines to share data with ticket agents as the Rule requires no later than October

30, 2024.

        18.     To meet the Rule’s compliance deadline, SCA will need to negotiate, finalize, and

execute information-sharing agreements with ticket agents by October 30, 2024. SCA estimates

this would be a lengthy and costly negotiation.

        19.     If the Rule’s effective date is not stayed, SCA would incur these costs immediately,

and they would not be recoverable if the Rule is invalidated. Moreover, once effective, these new

agreements will remain legally binding on carriers even if the Petitioners prevail in this action and

the Rule is set aside.

        20.     SCA prices ancillary products according to trip length, demand, specific seat,

baggage weight, days to travel, bundles, market, loyalty membership, co-brand credit card, and

other factors to allow passengers to customize the product to fit their specific circumstances. This

optionality allows each passenger’s trip to be priced reflective of their own conveyed value. As

described above, it is incredibly onerous to display all potential outcomes on the landing page.


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This rule would result in passengers having less options and SCA would be forced to offer a legacy

airline fare structure. This rule would result in higher fares for all passengers by reducing the

optionality allowing passengers to customize the flight product to fit their specific needs. Further,

this rule would require SCA to convey the required information to the various intermediaries (OTA

and agents) and aggregators (Google flights) used to offer fares to passengers. It is concerning

that noncompliance with this rule by intermediaries and aggregators could impute liability on SCA.

       I declare under penalty of perjury that the foregoing is true and correct.

Dated: June 06, 2024

       Minneapolis, MN                            _____________________________

                                                  Rose Neale




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